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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                Plaintiff,

       v.

UNITED STATES DEPARTMENT OF HOMELAND
SECURITY;
                                                                    Case No. _______________
KRISTI NOEM, in her official capacity as Secretary of the United
States Department of Homeland Security;                                  COMPLAINT

UNITED STATES IMMIGRATION AND CUSTOMS
ENFORCEMENT;

TODD LYONS, in his official capacity as Acting Director of
United States Immigration and Customs Enforcement;

STUDENT AND EXCHANGE VISITOR PROGRAM;

JOHN DOE, in their official capacity as Director of the Student
and Exchange Visitor Program;

JAMES HICKS, in his official capacity as Deputy Assistant
Director of the Student and Exchange Visitor Program;

UNITED STATES DEPARTMENT OF JUSTICE;

PAMELA BONDI, in her official capacity as Attorney General of
the United States;

UNITED STATES DEPARTMENT OF STATE;

MARCO RUBIO, in his official capacity as Secretary of the
United States Department of State,

                Defendants.
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       1.      For more than 70 years, Harvard University (“Harvard” or the “University”) has

been certified by the federal government to enroll international students under the F-1 visa

program, and it has long been designated as an exchange program sponsor to host J-1

nonimmigrants. Harvard has, over this time, developed programs and degrees tailored to its

international students, invested millions to recruit the most talented such students, and integrated

its international students into all aspects of the Harvard community. Yesterday, the government

abruptly revoked that certification without process or cause, to immediate and devastating effect

for Harvard and more than 7,000 visa holders.

       2.      This revocation is a blatant violation of the First Amendment, the Due Process

Clause, and the Administrative Procedure Act. It is the latest act by the government in clear

retaliation for Harvard exercising its First Amendment rights to reject the government’s demands

to control Harvard’s governance, curriculum, and the “ideology” of its faculty and students. The

government’s actions are unlawful for other equally clear and pernicious reasons. They disregard

the government’s own regulations—under which Harvard should remain certified to host F-1 and

J-1 visa holders. They depart from decades of settled practice and come without rational

explanation. And they were carried out abruptly without any of the robust procedures the

government has established to prevent just this type of upheaval to thousands of students’ lives.

       3.      With the stroke of a pen, the government has sought to erase a quarter of Harvard’s

student body, international students who contribute significantly to the University and its mission.

Harvard’s certification is essential for each of Harvard’s thousands of international students to

lawfully remain in this country while they complete coursework, obtain degrees, and continue

critical research. Effective immediately, most of Harvard’s thousands of enrolled F-1 and J-1 visa

students (and their more than 300 dependents) will have little choice but to secure transfer to




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another school or risk being rendered without lawful status in the United States. Effective

immediately, Harvard can no longer sponsor F-1 and J-1 visa holders for its upcoming summer

and fall terms, despite having admitted thousands. Effective immediately, countless academic

programs, research laboratories, clinics, and courses supported by Harvard’s international students

have been thrown into disarray. The government’s actions come just days before graduation.

Without its international students, Harvard is not Harvard.

       4.      Harvard therefore brings this action under the United States Constitution, the

Administrative Procedure Act (APA), and the equitable authority of this Court to vacate, set aside,

and enjoin the government’s unlawful acts.

                                      INTRODUCTION

       5.      For more than 70 years, Harvard has continuously hosted international students

with so-called F-1 visas on its campus in coordination with the government under a program

currently called the Student and Exchange Visitor Program (SEVP) and overseen by the U.S.

Department of Homeland Security (DHS). Harvard has also long been designated as an exchange

program sponsor to host J-1 nonimmigrants. These visa programs, which allow international

students to enter the United States on nonimmigrant visas to enroll at Harvard and thousands of

other schools,1 have boosted America’s academic, scientific, and economic success and its global

standing.

       6.      Tens of thousands of international students have studied at Harvard under the F-1

visa program. Additional international students and scholars have come to Harvard under the J-1

visa program. These students have contributed to the University’s research advancements in



1
   U.S. Immigr. & Customs Enfor., SEVP Certified Schools (updated Apr. 28, 2021),
https://studyinthestates.dhs.gov/assets/certified-school-list-04-28-21.pdf.



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immeasurable ways. They do so by (among other things) publishing pioneering scholarship,

supporting scientific research, inventing groundbreaking technologies, and starting thriving

businesses here in America.

       7.      Building the international program that sponsors these students did not happen

overnight. It has been a painstaking, decades-long project to cultivate the programs, opportunities,

personnel, and reputation that allow Harvard to attract the most qualified international students,

vet those students in partnership with the government to ensure they can obtain and maintain the

necessary visas to complete their course of study, and integrate them into the Harvard community.

Harvard’s robust and thriving visa programs have inured to the benefit of Harvard’s entire

population and the United States.

       8.      Since the inception of the F-1 visa program more than 70 years ago, Harvard and

the government have worked cooperatively to advance these goals. Harvard has been continuously

certified to host F-1 visa holders since 1954. Under the modern program established in 2003,

certified schools must comply with specified recordkeeping, retention, and reporting requirements

and renew their F-1 certification every two years. And, since then, Harvard has complied with all

applicable reporting requirements and renewed its certification without incident. For more than 70

years, the government has never threatened Harvard’s certification.

       9.      All of that changed on April 16, 2025, when the Secretary of Homeland Security,

Kristi Noem, sent Harvard’s International Office (HIO) a letter (the “Records Request”) criticizing

Harvard for “fail[ing] to condemn antisemitism.” The Records Request demanded that HIO

produce wide-ranging information for “each student visa holder” across Harvard’s 13 schools

within ten business days and further stated that failure to do so “within the timeframe provided”—




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that is, by April 30, 2025—would be “treated as a voluntary withdrawal” from the F-1 program

and “not … subject to appeal.”

       10.     Despite the unprecedented nature of this demand, HIO immediately began

collecting responsive records from the information it maintains or keeps “accessible,” 8 C.F.R.

§ 214.3(g)(1), and, on April 30, Harvard produced that information to DHS. On May 14, Harvard

also produced additional information in response to a follow-up request from DHS. Yet, on

May 22, 2025, DHS deemed Harvard’s responses “insufficient”—without explaining why or

citing any regulation with which Harvard failed to comply—and revoked Harvard’s SEVP

certification “effective immediately.”

       11.     The government’s termination of Harvard’s SEVP certification is the culmination

of its unprecedented and retaliatory attack on academic freedom at Harvard:

               a.      In recent weeks and months, through a multi-agency Task Force to Combat

Anti-Semitism (“Federal Task Force”), the government has conditioned Harvard’s continued

receipt of numerous federal benefits, including billions of dollars of federal funding, on accepting

sweeping changes to Harvard’s governance, admissions, hiring, and academic programs.

               b.      The government enumerated these demands in extensive detail in an

April 11, 2025, letter to Harvard’s President. The government demanded (among other things) that

Harvard hire a third-party to “audit” the viewpoints of its students, faculty, and staff; depending

on the results of the audit, hire and admit a “critical mass” of people to achieve the government’s

preferred level of “viewpoint diversity” in “each department, field, or teaching unit”; refuse

admission to international students “hostile to [] American values”; “exclusively” “empower”

faculty supportive of the government’s action and “reduce[] the power” of those opposed; allow

the government to review its faculty hires; expel or suspend specific sets of students; disband




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disfavored student clubs; and establish mechanisms for Harvard community members to report on

one another and send those reports to the government.

               c.     When, on April 14, 2025, Harvard refused to accede to these demands, the

government’s retribution was swift. Hours later, the government froze more than $2.2 billion in

federal funding critical to the support of ongoing cutting-edge research at Harvard—research with

the potential to improve the health and safety of millions of Americans through better cancer

treatments, model and manage the spread of infectious disease outbreaks, produce vital

innovations in quantum computing and artificial intelligence, and reduce the short- and long-term

consequences of battlefield-related injuries, among myriad other developments and discoveries.2

               d.     The next day, on April 15, 2025, President Trump posted on Truth Social

suggesting that “Harvard should lose its Tax-Exempt Status” as a not-for-profit educational

institution under Section 501(c)(3) of the Internal Revenue Code, “if it keeps pushing political,

ideological, and terrorist inspired/supporting ‘Sickness.’” But Harvard is not a commercial

business and does not seek investors to fund its activities and then share in their proceeds. So,

maintaining Section 501(c)(3) status—which permits the University to receive tax-deductible

gifts, raise capital from investors on affordable terms, and provide access to federal student aid

programs—is vital to Harvard’s existence as a modern research university dedicated to serving the

public.

               e.     The following day, the President doubled down, asserting in a post on Truth

Social that “Harvard has been hiring almost all woke, Radical Left, idiots and ‘birdbrains’ who are

only capable of teaching FAILURE to students” and that “Harvard can no longer be considered


2
 Harvard has challenged the government’s freeze order and subsequent terminations of billions of
dollars in multi-year grants to Harvard in President and Fellows of Harvard College v. U.S. Dep’t
of Health and Human Services et al., No. 25-cv-11048 (D. Mass. Apr. 21, 2025) (the “Funding
Case”).


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even a decent place of learning, and should not be considered on any list of the World’s Great

Universities or Colleges.” On April 16, Secretary Noem sent her letter to HIO, seeking eight broad

categories of information on every international student studying at Harvard under an F-1 visa,

threatening that failure to comply would be deemed a “voluntary withdrawal” of Harvard’s SEVP

certification, and warning that “[t]he withdrawal will not be subject to appeal.” This demand was

unprecedented, seeking information far beyond what DHS’s regulations require Harvard to

maintain and report, and far beyond any request Harvard has received in its more than 70 years

hosting foreign students under the F-1 visa program.

               f.      Just hours later, DHS issued a press release announcing both its cancellation

of “two DHS grants totaling over $2.7 million to Harvard” as well as the Secretary’s “scathing

letter demanding detailed records on Harvard’s foreign student visa holders’ illegal and violent

acts.” The press release asserted that Harvard has allowed “anti-American, pro-Hamas ideology

[to] poison[] its campus and classrooms” and “undermine America’s values.” It added that DHS’s

demand for records encompassing thousands of student visa holders “follows President Donald J.

Trump’s decision to freeze $2.2 billion in federal funding to Harvard University, proposing the

revocation of its tax-exempt status over its radical ideology.” And it concluded by stating that “if

Harvard cannot verify it is in full compliance with its reporting requirements, the university will

lose the privilege of enrolling foreign students.”

               g.      Despite the unprecedented nature and scope of the April 16 demand, and

the lack of any clear authority for most of the requests, Harvard worked diligently to collect and

produce the information it is required to maintain and report under the SEVP program. On

April 30, 2025, Harvard produced responsive information falling within 8 C.F.R. § 214.3(g)(1).




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Specifically, Harvard produced to DHS thousands of data points concerning its entire F-1 visa

student population.

                 h.     Then, on May 7, 2025, DHS notified Harvard that DHS believed Harvard’s

initial production was incomplete and—now invoking all of its authority under 8 C.F.R. Part 214—

asked for four of the eight categories of information referenced in the initial request. This request

continued to be both unprecedented and well beyond the scope of the authority invoked by DHS.

But in response, Harvard again conducted a search and again produced additional responsive

information.

                 i.     In the wake of Harvard’s productions, DHS summarily revoked Harvard’s

SEVP certification on the basis that Harvard’s responses were “insufficient.” But it did not explain

why that was so, let alone identify any actual noncompliance with the governing regulations or

follow any of the detailed processes required under the regulations prior to revoking a school’s

certification.

                 j.     DHS’s revocation letter leaves no doubt that the revocation is part of DHS’s

campaign to coerce Harvard into surrendering its First Amendment rights. The letter declares:

“Consequences must follow to send a clear signal to Harvard and all universities that want to enjoy

the privilege of enrolling foreign students, that the Trump Administration will enforce the law and

root out the evils of anti-Americanism and antisemitism in society and campuses.” Or put another

way: because the Administration perceives that members of Harvard’s community have the wrong

viewpoints, Harvard will be punished until it alters its viewpoints to satisfy the Administration’s

demands.

        12.      The surrounding events, and Defendants’ express statements, make clear that DHS

took these actions not for any valid reason, but purely as punishment for Harvard’s speech, its




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perceived viewpoint, and its refusal to surrender its academic independence or relinquish its

constitutional rights. A central tenet of our constitutional system is that the government cannot

“invok[e] legal sanctions and other means of coercion” to micromanage private speech. Nat’l Rifle

Ass’n of Am. v. Vullo, 602 U.S. 175, 189 (2024) (quoting Bantam Books, Inc. v. Sullivan, 372 U.S.

58, 67 (1963)). And it is bedrock law that the viewpoint-based justifications the government has

repeatedly and publicly invoked as a basis for its campaign against Harvard are a particularly

“egregious form of content discrimination,” subject to the strictest scrutiny. Reed v. Town of

Gilbert, 576 U.S. 155, 168-69 (2015) (quotation marks omitted). Those First Amendment concerns

are heightened here, as “academic freedom” is “a special concern of the First Amendment,”

Keyishian v. Bd. of Regents of Univ. of N.Y., 385 U.S. 589, 603 (1967). The government’s actions

violate Harvard’s rights under the First Amendment several times over.

       13.     Compounding these First Amendment infirmities, the government’s retaliatory

revocation of Harvard’s certification is the very definition of arbitrary and capricious agency action

proscribed by the APA. DHS provided no coherent reason for taking these actions, and its

revocation fully bypassed the detailed statutory and regulatory framework governing the F-1 and

J-1 visa programs, which specify procedures and standards for revoking a school’s certification—

all of which the government ignored. And the government’s actions run roughshod over the

procedural due process protections of fair notice and an opportunity to respond owed to Harvard

under the U.S. Constitution and the APA as the holder, for more than 70 years, of a government

license to participate in the F-1 visa program.

       14.     There is no lawful justification for the government’s unprecedented revocation of

Harvard’s SEVP certification, and the government has not offered any. DHS’s actions go well

beyond terminating the visa of any individual student—or even a category of students—for




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noncompliance with immigration laws. They target Harvard itself, and for no remotely cognizable

purpose. Harvard is fully committed to ensuring the integrity of its SEVP certification. Indeed, the

government has continuously certified Harvard to host F-1 visa students for more than seven

decades across 14 presidential administrations.

       15.     The government has casually discarded core First Amendment protections, the

protections of procedural due process, and DHS’s own regulations to immediate and devastating

effect for Harvard and its community. Harvard’s more than 7,000 F-1 and J-1 visa holders—and

their dependents—have become pawns in the government’s escalating campaign of retaliation.

Effective immediately, Harvard may no longer sponsor or host F-1 or J-1 visa students. It cannot

issue Form I-20s to new students, including those who have been admitted for the upcoming

summer and fall terms. The thousands of international students who are scheduled to come to

campus for the summer and fall terms will no longer be able to enter the country. And the several

thousand international students currently present in the United States—who constitute more than

a quarter of Harvard’s student population—are subject to immediate removal from the United

States just days before many are to graduate with degrees.

       16.     Immediate relief is necessary to restore Harvard’s SEVP certification and to stop

the government’s arbitrary, capricious, unlawful, and unconstitutional action.

                                    JURISDICTION AND VENUE

       17.     This action arises under the Administrative Procedure Act (APA), 5 U.S.C § 551 et

seq.; the Immigration and Nationality Act (INA), 8 U.S.C. § 1101 et seq., and its implementing

regulations; and the United States Constitution.




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       18.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331. Because

this suit seeks relief other than money damages and instead challenges Defendants’ unlawful

actions, the United States has waived sovereign immunity from this suit. 5 U.S.C. § 702.

       19.     The Court is authorized to award the requested declaratory and injunctive relief

under 5 U.S.C. §§ 702, 703, 705, and 706; 28 U.S.C. §§ 2201 and 2202; 42 U.S.C. § 1988; and

through the equitable powers of this Court.

       20.     Venue is proper in this District under 28 U.S.C. § 1391(e)(1), because Defendants

are agencies of the United States and officers of the United States acting in their official capacity,

and a substantial part of the events or omissions giving rise to the claims occurred in this District,

and Harvard resides in this District.

       21.     Harvard has standing to bring this case. Defendants’ actions—unless halted by this

Court—will cause an imminent, concrete, and irreparable injury to Harvard, its students and

faculty, and its ability to achieve its educational mission.

                                              PARTIES

       22.     Plaintiff President and Fellows of Harvard College is a non-profit corporation that

is the senior governing board of the organization known as Harvard University. Harvard is a private

research university and the oldest institution of higher learning in the United States. Harvard’s

13 schools provide undergraduate and graduate instruction and degree programs to more than

24,000 enrolled students annually, including more than 5,000 international students who study in

the United States on F-1 visas. Additionally, Harvard sponsors approximately 2,000 recent

graduates who are working in jobs across the country on F-1 visas as part of the Optional Practical

Training (OPT) and STEM OPT programs. And Harvard also hosts several hundred individuals

who hold J-1 visas.




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        23.      Defendant United States Department of Homeland Security (DHS) is a cabinet-

level Department of the federal government. DHS is responsible for overseeing enforcement and

implementation of certain provisions of the Nation’s immigration laws by all DHS subagencies

and personnel.

        24.      Defendant Kristi Noem is the Secretary of DHS. Defendant Noem is sued in her

official capacity.

        25.      Defendant United States Immigration and Customs Enforcement (ICE) is a

component of DHS. ICE is responsible for administering SEVP and overseeing proceedings to

grant, recertify, and withdraw an institution’s SEVP certification.

        26.      Defendant Todd Lyons is the Acting Director of ICE. Defendant Lyons is sued in

his official capacity.

        27.      Defendant Student and Exchange Visitor Program (SEVP) is a component of ICE.

SEVP is responsible for administering the F-1 visa program and proceedings to grant, recertify,

and withdraw an institution’s SEVP certification.

        28.      Defendant John Doe is the Director of SEVP. Director Doe is sued in his official

capacity.

        29.      Defendant James Hicks is the Deputy Assistant Director of SEVP. Defendant Hicks

is sued in his official capacity.

        30.      Defendant United States Department of Justice is a cabinet-level Department of the

federal government. The Department of Justice is charged with overseeing domestic enforcement

of federal laws.

        31.      Defendant Pamela Bondi is the Attorney General of the United States. Defendant

Bondi is sued in her official capacity.




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        32.     Defendant United States Department of State is a cabinet-level Department of the

federal government. The State Department is responsible for conducting American foreign policy

and diplomacy, and relevant here, for administering the J-1 Exchange Visitor Program.

        33.     Defendant Marco Rubio is the Secretary of State. Defendant Rubio is sued in his

official capacity.

                     STATUTORY AND REGULATORY FRAMEWORK

A.      The F-1 Visa Program and SEVP Certification

        34.     SEVP is a federally regulated program that recognizes the inherent value in

bringing the best and brightest students—wherever they are found—to the United States, to study

and contribute to American academic institutions.

        35.     Under the INA, certain international students are permitted to attend American

universities on nonimmigrant F-1 visas. An F-1 visa permits international students to enter and be

lawfully present in the United States to complete their courses of study, among other things.

        36.     Eligibility to maintain F-1 status is governed by 8 U.S.C. § 1101(a)(15)(F)(i) and

8 C.F.R. § 214.2(f).

        37.     As relevant here, in order to qualify for an F-1 visa, a noncitizen must: (1) “hav[e]

a residence in a foreign country which he has no intention of abandoning”; (2) be “a bona fide

student qualified to pursue a full course of study”; and (3) “seek[] to enter the United States

temporarily and solely for the purpose of pursuing such a course of study … at an established

college, university, … or other academic institution … particularly designated by him and

approved by the Attorney General.” 8 U.S.C. § 1101(a)(15)(F)(i) (emphasis added).




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        38.     The statutorily mandated process by which schools are “approved by the Attorney

General” to host students who hold F-1 visas is administered by SEVP, a subcomponent of ICE

(within DHS).3

        39.     The process for seeking the required approval is known as “SEVP certification,”

see, e.g., 8 C.F.R. § 214.3(f), and a school that receives that approval is said to be “SEVP-

certified,” see, e.g., id. § 214.2(f)(4).

        40.     The requirements for obtaining SEVP certification are set out in 8 C.F.R. § 214.3.

        41.     To begin the SEVP certification process, a school must “file a petition for

certification” with DHS using an online portal known as “the Student and Exchange Visitor

Information System,” or SEVIS, and pay a filing fee. Id. §§ 214.3(a)(1), 103.7(d)(2)(i).

        42.     The requirements for obtaining initial SEVP certification (the “Initial Certification

Criteria”) are enumerated in the governing regulation. The school “must establish at the time of

filing” that it: (A) “[i]s a bona fide school”; (B) “[i]s an established institution of learning or other

recognized place of study”; (C) “[p]ossesses the necessary facilities, personnel, and finances to

conduct instruction in recognized courses”; and (D) “[i]s, in fact, engaged in instruction in those

courses.” Id. § 214.3(a)(3)(i)(A)-(D).

        43.     After receiving its initial certification, a school must petition to renew that

certification every two years, see id. § 214.3(h)(2); 8 U.S.C. § 1762(a).

        44.     To “be eligible for recertification,” the school must establish that: (A) it “[r]emains

eligible for [initial] certification in accordance with paragraph (a)(3)(i) of this section” (that is, it



3
  For ease of reference, Harvard refers to Defendants collectively as “DHS” from this point
forward. References in the INA to the Attorney General are generally understood also to refer to
the DHS Secretary. See 6 U.S.C. § 236(b) (transferring many functions relating to federal
immigration law to the Secretary of Homeland Security).



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continues to satisfy the four Initial Certification Criteria); and (B) the school and its Designated

School Officials (DSOs) have “complied during its previous period of certification … with

recordkeeping, retention, and reporting requirements and all other requirements of paragraphs (g),

(j), (k), and (l) of this section” (the “Compliance Criteria”). 8 C.F.R. § 214.3(a)(3)(ii)(A)-(B); see

also id. § 214.3(h)(2)(iii)(B) (stating that individual DSO compliance may be considered).

       45.     Section 214.3(g) of the regulations enumerates the Compliance Criteria relating to

a school’s recordkeeping, retention, and reporting obligations. It requires schools to “keep records

containing certain specific information and documents relating to each F-1 … student” and to

“furnish the[se records] to DHS representatives upon request.” Id. § 214.3(g)(1).

       46.     DHS defined and limited this “specific information” by regulation. The information

includes the student’s name, “date and place of birth, [and] country of citizenship”; the “[c]urrent

address where the student and his or her dependents physically reside”; the student’s “[r]ecord of

coursework”; his “[a]cademic status,” including “the effective date or period if suspended,

dismissed, placed on probation, or withdrawn”; and, if applicable, a “[t]ermination date and

reason.” Id. § 214.3(g)(1)(ii)-(iv), (vi), (ix). These categories largely track the information that the

school is required to maintain by statute. See 8 U.S.C. § 1372(c)(1).

       47.     Sections 214.3(j)-(l) of the regulations set forth the additional Compliance Criteria

a school seeking recertification must satisfy. Section 214.3(j) limits schools to certain specified

language when discussing their SEVP certification in advertising or promotional materials. See 8

C.F.R. § 214.3(j). Section 214.3(k) provides that the school may only issue a Form I-20—a critical

document in the noncitizen’s F-1 visa application—to foreign students who have applied to the

school in writing and have been accepted on the merits. See id. § 214.3(k). And Section 214.3(l)

requires schools to designate one Principal Designated School Official (PDSO) and any number




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of additional DSOs, “whose compensation does not come from commissions for recruitment of

foreign students,” to advise F-1 students “regarding maintenance of nonimmigrant status and to

support timely and complete recordkeeping and reporting to DHS.” Id. § 214.3(l)(1)(ii)-(iii). These

are the only recertification eligibility requirements specified in DHS’s regulations.

       B.       Withdrawal of SEVP Certification

       48.      In addition to the ordinary biennial recertification process described above, the

regulations provide that DHS may review and (if warranted) withdraw a school’s certification “in

accordance with the provisions of [8 C.F.R. § 214.4],” id. § 214.3(f)(1). The regulations refer to

this alternative means of withdrawing a school’s certification as an “out-of-cycle review” leading

to “[w]ithdrawal on notice.” Id. § 214.4(b).

       49.      SEVP may initiate an out-of-cycle review of a school’s certification “to verify the

school’s compliance with the recordkeeping, retention, reporting and other requirements of

paragraphs (f), (g), (j), (k), and (l) of this section to verify the school’s continued eligibility for

SEVP certification pursuant to paragraph (a)(3) of this section.” Id. § 214.3(h)(3)(iii).

       50.      As part of this out-of-cycle review process, “SEVP may request a school to

electronically update all Form I-17 fields[4] in SEVIS and provide “documentation supporting the

update” and “[t]he school must complete such updates in SEVIS and submit the supporting

documentation to SEVP within 10 business days of the request from SEVP.” Id. § 214.3(h)(3)(ii).

       51.      If DHS identifies any non-compliance during the out-of-cycle review process, the

regulations give the agency only two options for taking adverse action against the school: it may

(1) “initiate remedial action with the school, as appropriate,” or (2) “initiate withdrawal


4
  The Form I-17 is a form the school fills out in connection with its petition for certification,
providing information such as the school’s address and disciplines taught. See, e.g., 8 C.F.R.
§ 214.3(h)(3)(i)(A)-(T).



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proceedings against the school pursuant to [8 C.F.R. § 214.4.(b)] if noncompliance or ineligibility

of a school is identified.” Id. § 214.3(h)(3)(iii); see also id. § 214.3(h)(3)(vi) (providing that

“SEVP will institute withdrawal proceedings in accordance with [8 C.F.R. § 214.4(b)] if, upon

completion of an out-of-cycle review, SEVP determines that a school or its programs are no longer

eligible for certification”).

        52.     The regulations do not create any mechanism for summary withdrawal of a school’s

certification after an out-of-cycle review has been conducted. Instead, DHS’s authority to revoke

a certification is limited both substantively and procedurally.

        53.     Substantively, DHS may seek to withdraw a school’s certification if (after

conducting this out-of-cycle review process) it determines that the school “has failed to sustain

eligibility or has failed to comply with the recordkeeping, retention, reporting and other

requirements of paragraphs (f), (g), (j), (k), and (l) of this section,” id. § 214.3(e)(4)(ii) & (f)(1)—

in other words, if it fails to satisfy either the Initial Certification Criteria or the Compliance Criteria.

        54.     Section 214.4 likewise provides that SEVP certification may be withdrawn under

this out-of-cycle review mechanism only “if the school … is determined to no longer be entitled

to certification for any valid and substantive reason.” Id. § 214.4(a)(2); see 8 U.S.C. § 1762(c)

(stating that “[m]aterial failure … to comply with the [specified] recordkeeping and reporting

requirements to receive nonimmigrant students” is grounds for withdrawal of certification).

        55.     The regulation lists 19 “valid and substantive reason[s]” for withdrawing

certification. One such reason is “[f]ailure to comply with [8 C.F.R. § 214.3(g)(1)] without a

subpoena.” 8 C.F.R. § 214.4(a)(2)(i). Others include failure to adhere to the Initial Certification

Criteria, id. § 214.4(a)(2)(xii)-(xiii), (xv)-(xvii); failure to comply with the Compliance Criteria,




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see id. § 214.4(a)(2)(i)-(iv), (viii)-(x), (xiv), (xviii)-(xix); and misconduct by or lack of

qualification of the school’s DSOs, see id. § 214.4(a)(2)(v)-(vii).

       56.     Procedurally, even where DHS identifies a “valid and substantive reason” for

withdrawing a school’s certification, the regulations do not permit DHS to summarily decertify a

school as DHS did here. Instead, Section 214.4 establishes a detailed set of procedures that DHS

must follow if it wishes to withdraw certification pursuant to out-of-cycle review (i.e., outside the

biennial recertification process).

       57.     The process for withdrawal of certification following out-of-cycle review is

governed by 8 C.F.R. § 214.4(b), which is entitled “Withdrawal on notice.” As the name reflects,

DHS may initiate withdrawal-on-notice proceedings only by serving the school with a notice

known as a “Notice of Intent to Withdraw” or NOIW. Id. § 214.3(e)(4). The NOIW must “inform

the school” of “[t]he grounds for withdrawing SEVP certification.” Id. § 214.4(b)(1).

       58.     The issuance of a NOIW is the first step in what the regulations elsewhere refer to

as “withdrawal proceedings.” Id. § 214.3(h)(3)(iii). Those proceedings involve detailed procedural

protections—including administrative appeals—prior to effectuating a withdrawal of certification.

       59.     Upon receipt of a NOIW, the school has 30 days to submit an answer either

admitting or denying the allegations in the NOIW and supporting its position with “sworn

statements, and documentary or other evidence, to rebut the grounds for withdrawal of

certification.” Id. § 214.4(b)(2); see id. § 214.4(d)-(e). The school may also submit “a written

request … for a telephonic interview in support of its response to the NOIW.” Id. § 214.4(b)(3).

And the school is permitted to be represented by counsel during these proceedings. See id.

§ 214.4(c).




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        60.     If DHS wishes to proceed with withdrawing the school’s certification following

this period of review, it must issue a written decision explaining “the specific reasons for” its

decision. Id. § 103.3(a)(1)(i); see id. § 214.4(g).

        61.     The regulations also provide that “[a] school can voluntarily withdraw from SEVP

… in lieu of complying with an out-of-cycle review or request.” Id. § 214.3(h)(3)(vii). To do so,

the school generally must “initiate voluntary withdrawal by sending a request for withdrawal on

official school letterhead to SEVP.” Id. (emphasis added). The regulations also state that “[f]ailure

of a school to comply with an out-of-cycle review or request by SEVP will be treated as a voluntary

withdrawal.” Id. This voluntary withdrawal procedure can only be read as applying in cases where

no out-of-cycle review in fact occurs, despite the agency’s desire to conduct such a review, because

of the school’s decision to withdraw from the program in lieu of compliance.

        62.     In sum, the regulations provide DHS with only two means of terminating a school’s

existing F-1 visa program outside of the normal biennial recertification process: First, DHS can

withdraw a certification only by issuing a NOIW and initiating “withdrawal proceedings” pursuant

to 8 C.F.R. § 214.4(b). Second, if DHS initiates an out-of-cycle review and the school wishes to

acquiesce in the withdrawal of its certification, it can “voluntarily withdraw” its certification either

by submitting a letter to that effect or simply by declining to engage with the out-of-cycle review

process.

        63.     Upon information and belief, prior to the decertification decision in this case, no

school had ever had its SEVP certification revoked for any reason other than failure to meet the

eligibility criteria for certification or failure to comply with the recordkeeping, retention, reporting,

and other requirements set out in the federal regulations governing certification.




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C.     The Administrative Appeals Process for Challenging Revocation of SEVP
       Certification

       64.     The regulatory scheme also entitles a school whose certification is withdrawn to

file an administrative appeal of that decision. Specifically, the regulations authorize the school to

“file an [administrative] appeal of a … withdrawal [of certification] no later than 15 days after the

service of the decision by ICE.” Id. § 214.4(h).

       65.     Publicly available guidance documents promulgated by DHS and ICE describe the

multi-step appeal process.5

       66.     In the first instance, an administrative appeal is assigned to the same “adjudicator

who originally adjudicated the case to determine whether to uphold or overturn the original

decision.” Ex. 2.

       67.     If the original adjudicator affirms his earlier decision, the case proceeds to the

Administrative Appeals Team, or AAT, which “reviews the case and all the evidence relating to

the petition” and “draft[s] a preliminary appeal decision.” Id.

       68.     That preliminary decision is then subject to “[l]egal and [r]egulatory [r]eview” to

“ensure regulatory compliance and legal sufficiency.” Id.

       69.     From there, a different body known as the Final Appeals Authority, or FAA,

“reviews the entire case proceedings to ensure understanding of [the] case, including both

comments from the AAT adjudicator and from the legal entity” that performed the legal and

regulatory review. Ex. 1.




5
  See DHS, General Appeals Process Information (attached as Exhibit 1) (describing
administrative appeals process); ICE, Appeal Processing Steps (attached as Exhibit 2) (same). The
processes outlined in these two documents are substantively identical.



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        70.     The AAT adjudicator then reviews the FAA’s comments and makes any necessary

changes. See id.

        71.     Afterward, the decision is returned to the FAA for approval of a final, signed

appellate decision. See id. That “final decision is then issued to the petitioner and [its] attorney, if

applicable, via email.” Ex. 2.

        72.     This administrative appeals process “takes roughly 60 business days.” Ex. 1.

D.      Consequences of Withdrawing SEVP Certification

        73.     The consequences of withdrawing SEVP certification are drastic—for the school

that loses certification, for its students, and for its broader community.

        74.     Effective immediately upon DHS’s decision, the school may no longer issue new

Forms I-20 to foreign students as needed to allow them to obtain F-1 visas and therefore admission

into the United States. 8 C.F.R. § 214.4(i)(1). The effect is to preclude the school from accepting

any new foreign students to its programs.

        75.     With respect to current students with F-1 status, students whose school is

decertified are, necessarily, no longer “pursuing a full course of study at an educational institution

certified by SEVP for attendance by foreign students,” id. § 214.2(f)(5)(i), and thus are at

immediate risk of losing their F-1 status.

        76.     A student who remains in the United States after his or her F-1 status is terminated

is unlawfully present and may be placed in removal proceedings. See 8 U.S.C. § 1227(a)(1)(C)(i).

A noncitizen who remains unlawfully present for more than 180 days is thereafter rendered

inadmissible for a period of three years. See id. § 1182(a)(9)(B)(i)(I), (ii).

        77.     As a practical matter, the regulations and publicly available guidance indicate that

loss of a student’s F-1 status is triggered not on the date of the school’s decertification, but rather




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on the later date when the school’s access to the online SEVIS portal is terminated—known as its

“SEVIS access termination date.” 8 C.F.R. § 214.4(i)(2). On this date, DHS “will automatically

terminate any remaining Active SEVIS records for that school.” Id.6

       78.     Termination of SEVIS records presents student visa holders whose school loses its

certification with two bad choices: (a) attempt the uncertain path of securing immediate “[t]ransfer

to another SEVP-certified school,” which typically will not be feasible—much less guaranteed—

in the middle of an academic year (particularly when thousands of students are seeking transfers

en masse), or (b) “[d]epart the United States.” Ex. 3 at 2.

       79.     Although termination of SEVIS access eventually follows from withdrawal of

certification, DHS must make an independent determination as to when it occurs—and thus when

to terminate the status of its F-1 visa students. “In most situations,” and unless the school is

“suspected of criminal activity or poses a potential national security threat,” DHS “will not

determine a SEVIS access termination date for that school until the [administrative] appeals

process has concluded and the … withdrawal has been upheld.” 8 C.F.R. § 214.4(i)(2). In

determining the SEVIS access termination date, DHS “will consider the impact that such date will

have upon SEVP, the school, and the school’s nonimmigrant students.” Id.

       80.     A school whose certification is withdrawn is ineligible to petition again for SEVP

certification until one year after withdrawal, and even then, “[e]ligibility to re-petition will be at

the discretion of the Director of SEVP.” Id. § 214.4(a)(2).




6
 See U.S. Dep’t of Homeland Sec., Loss of SEVP Certification (Dec. 19, 2024) (attached as
Exhibit 3).



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       E.       The J Visa Program

       81.      The J visa is the nonimmigrant visa class for foreign citizens who are approved to

participate in an exchange visitor program in the United States, 8 U.S.C. § 1101(a)(15)(J),

including as students, professors, and research scholars. 22 C.F.R. § 62.4.

       82.      To host individuals on J-1 visas, an institution must be designated as an “Exchange

Visitor Program sponsor” by the Department of State. 22 C.F.R. § 62.3, 62.5.

       83.      Revocation of a sponsor’s Exchange Visitor Program designation is governed by

22 C.F.R. § 62.50(d). The provision authorizes the Department of State’s Office of Exchange

Coordination and Designation (the “Office”) to serve a sponsor with written notice of its intent to

revoke the sponsor’s Exchange Visitor Program designation “[u]pon a finding of any act or

omission set forth in [paragraph (a) of the regulation].” 22 C.F.R. § 62.50(d). Paragraph (a), in

turn, provides notice of intent to revoke may be issued upon a finding that the sponsor has violated

one or more provisions of 22 C.F.R. Part 62; evidenced a pattern of failure to comply with one or

more provisions of 22 C.F.R. Part 62; committed an act of omission or commission, which has or

could have the effect of endangering the health, safety, or welfare of an exchange visitor; or

otherwise conducted its program in such a way as to undermine the foreign policy objectives of

the United States, compromise the national security interests of the United States, or bring the

Department or the Exchange Visitor Program into notoriety or disrepute. 22 C.F.R. § 62.50(a).

       84.      Upon such a finding, the regulations afford sponsors notice and an opportunity to

be heard before the revocation takes effect:

                a.     The Office must provide at least 30 days’ written notice of its intent to

revoke. 22 C.F.R. § 62.50(d)(1).




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               b.      That notice must “specify the grounds for the proposed sanction and its

effective date, advise the sponsor of its right to oppose the proposed sanction, and identify the

procedures for submitting a statement of opposition thereto.” Id.

               c.      The sponsor is then afforded the opportunity to submit a statement in

opposition to or mitigation of the proposed sanction, the submission of which serves to stay the

effective date of the proposed sanction pending decision of the Principal Deputy Assistant

Secretary for Educational and Cultural Affairs. 22 C.F.R. § 62.50(d)(2)(i)-(ii). The Principal

Deputy Assistant Secretary is then responsible for reviewing the submissions of both the sponsor

and the Office and either modifying, withdrawing, or confirming the proposed sanction by serving

the sponsor a written decision that specifies the grounds for the sanction, identifies its effective

date, advises the sponsor of its right to request a review, and identifies the procedures for

requesting such review. 22 C.F.R. § 62.50(d)(2)(v).

       85.     The effect of an order of revocation is outlined in 22 C.F.R. § 62.50(i). A sponsor

against which an order of revocation “has become effective may not thereafter issue any Certificate

of Eligibility for Exchange Visitor (J-1) Status (Form DS-2019) or advertise, recruit for, or

otherwise promote its program.” 22 C.F.R. § 62.50(i). And even where the sponsor has already

issued a Form DS-2019, the sponsor may not under any circumstances “facilitate the entry of an

exchange visitor into the United States” after revocation. Id. The regulation also expressly states

that an order of revocation “will not in any way diminish or restrict the sponsor’s legal or financial

responsibilities to existing program applicants or participants.” Id.




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                                  FACTUAL BACKGROUND

A.     Harvard’s Participation in the F-1 Visa Program

       86.     Harvard first became certified to host students with F-1 visas in 1954 and has

continuously maintained its certification for the 70-plus years since. Throughout that period, all

of Harvard’s required biennial petitions for recertification have been approved without issue.

       87.     The seamless recertification across this period—spanning more than 14 presidential

administrations—reflects a determination by DHS and SEVP (and their predecessor agencies) that

the University has remained eligible for certification. In other words, Harvard is a bona fide and

established institution of learning; possesses the necessary facilities, personnel, and finances to

conduct instruction in recognized courses and is in fact engaged in instruction in those courses;

and has continuously complied with applicable recordkeeping, retention, and reporting

requirements and all other requirements of the governing regulations.

       88.     International students who hold F-1 visas, as well as students and scholars visiting

on J-1 visas, form a vital part of Harvard’s academic community. Over 5,000 F-1 visa holders are

currently enrolled at Harvard, representing approximately 26% of the total student body across

Harvard’s 13 schools. These students hail from 143 different countries, contributing unique social,

cultural, and intellectual perspectives that enrich classroom discussions, research endeavors, and

campus life. Among other activities, they run labs, teach courses, assist faculty members, drive

innovative research, and participate across a wide range of athletic programs and 42 varsity sports.

       89.     Harvard’s ability to enroll international students directly affects its global rankings

and reputation as an institution of higher learning. Harvard fills its classes with the most qualified

applicants from around the world.




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         90.      For some disciplines, this results in classes with large shares of international

students. For example, at the Harvard Kennedy School, the mission of which depends on providing

students with the perspectives of current and future policymakers from around the world, 49% of

students hold F-1 visas. One third of Harvard Business School students are F-1 visa holders. And

nearly all—94%—of the students in Harvard Law School’s LL.M. program on comparative law

are international students with F-1 visas.

         91.      Leading scholars often consider a university’s international profile, the caliber of

its students, and its research and teaching support resources in deciding where to teach and conduct

research.

         92.      The many notable alumni who have enrolled at Harvard as student visa holders—

including Benazir Bhutto, the former Prime Minister of Pakistan, Ellen Johnson Sirleaf, the former

President of Liberia, Empress Masako of Japan, and countless corporate executives, university

professors, and high-ranking government officials across the world—amplify and enhance the

profile that attracts top talent to the University.

    B.         Harvard’s Response to Antisemitism on its Campus

         93.      On October 7, 2023, the terrorist organization Hamas conducted a surprise attack

on Israeli citizens. This began an ongoing war between Israel and Hamas. The escalating conflict

in the Middle East dominated headlines around the globe. In the United States, protests erupted on

university campuses across the country. Like other schools, Harvard experienced increased

tensions among members of its campus community, including students. Members of the Jewish

and Israeli communities at Harvard reported treatment that was vicious and reprehensible.

         94.      In the aftermath of these events, Harvard made substantial changes aimed at

ensuring its campus is safe, fair, and welcoming to Jewish and Israeli students. Harvard has




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adopted new accountability procedures and clarified policies; imposed meaningful discipline for

those who have violated applicable policies; enhanced programs designed to address bias and

promote ideological diversity and civil discourse; hired staff to support these programs and

impacted students; and enhanced safety and security measures. Harvard’s work is ongoing, and it

continues to update and enforce its policies and procedures to protect Jewish and Israeli members

of the Harvard community while permitting the free and open exchange of ideas.

C.        The Government’s Attack on Harvard and Retaliatory Funding Freeze

          95.    Following President Trump’s inauguration, on February 3, 2025, the government

announced the formation of its Federal Task Force, led by Senior Counsel to the Assistant Attorney

General for Civil Rights, Leo Terrell.7 On February 26, 2025, a news article reported Terrell as

saying, “When you see universities start losing millions of dollars in federal funding, you’re going

to see a change in their behavior.”8

          96.    A few days later, Terrell stated in a Fox Business clip he later shared on X, “I’ve

targeted ten schools. Columbia, Harvard, Michigan, UCLA, USC. Let me tell you what we’re

going to do. We’re going to take away your funding.”9

          97.    On February 28, 2025, the Federal Task Force issued a press release announcing its

plans to visit ten university campuses, including Harvard, to gather information about allegations

of antisemitic incidents.10


7
 See Press Release, U.S. Dep’t of Just., Off. of Pub. Affs., Justice Department Announces
Formation of Task Force to Combat Anti-Semitism (Feb. 3, 2025) (attached as Exhibit 4).
8
  Andrew Bernard, “Head of DOJ Antisemitism Task Force: We’ll Put Hamas Supporters in Jail
‘for Years’,” Jewish News Syndicate, at 2 (Feb. 26, 2025) (attached as Exhibit 5).
9
  @TheLeoTerrell, X (Feb. 28, 2025, 11:48 AM ET), https://x.com/TheLeoTerrell/status/
1895516455392985171.
10
     Press Release, U.S. Dep’t of Just., Federal Task Force to Combat Antisemitism Announces Visits



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         98.    On March 31, 2025, the Federal Task Force sent Harvard a memorandum

announcing its intent to conduct a review of more than $8.7 billion in federal research grants to

Harvard and “its affiliates.”11 This memorandum stated that Harvard was “being investigated for

potential infractions and dereliction of duties to curb or combat anti-Semitic harassment.” Id.

         99.    On April 3, 2025, the government sent Harvard a letter (the “April 3 Letter”)

conveying a list of “broad, non-exhaustive areas of reform that the government views as necessary

for Harvard to implement to remain a responsible recipient of federal taxpayer dollars,” which

went far beyond concerns regarding antisemitism.12

         100.   On April 11, 2025, the government sent another letter to Harvard that went even

further (the “Demand Letter”).13 The Demand Letter superseded the April 3 Letter, enumerating

detailed conditions for “maintain[ing] Harvard’s financial relationship with the federal

government.” Id. at 1. These conditions sought to regulate or put under direct government control

a slate of core university functions, including regulation of the viewpoints of Harvard’s students

and faculty. Among the conditions were the following (emphases added):

     •   Viewpoint Diversity in Admissions and Hiring. … [T]he University shall commission
         an external party … to audit the student body, faculty, staff, and leadership for viewpoint
         diversity, such that each department, field, or teaching unit must be individually viewpoint

to 10 College Campuses that Experienced Incidents of Antisemitism (Feb. 28, 2025) (attached as
Exhibit 6).
11
  Memorandum from Josh Gruenbaum, U.S. Gen. Servs. Admin., to Alan M. Garber, Harvard
Univ., and Penny Pritzker, Lead Member, Harvard Corp., Re: Review of Federal Government
Contracts, at 1 (Mar. 31, 2025) (attached as Exhibit 7).
12
   Letter from Josh Gruenbaum, U.S. Gen. Servs. Admin., Sean R. Keveney, U.S. Dep’t of Health
& Hum. Servs., and Thomas E. Wheeler, U.S. Dep’t of Educ., to Alan M. Garber, Harvard Univ.,
and Penny Pritzker, Lead Member, Harvard Corp., at 1-2 (Apr. 3, 2025) (the “April 3 Letter”)
(attached as Exhibit 8).
13
  Letter from Josh Gruenbaum, U.S. Gen. Servs. Admin., Sean R. Keveney, U.S. Dep’t of Health
& Hum. Servs., and Thomas E. Wheeler, U.S. Dep’t of Educ., to Alan M. Garber, Harvard Univ.,
and Penny Pritzker, Lead Member, Harvard Corp. (Apr. 11, 2025) (the “Demand Letter”) (attached
as Exhibit 9).



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        diverse. … Harvard must abolish all criteria, preferences, and practices, whether
        mandatory or optional, throughout its admissions and hiring practices, that function as
        ideological litmus tests. Every department or field found to lack viewpoint diversity must
        be reformed by hiring a critical mass of new faculty within that department or field who
        will provide viewpoint diversity; every teaching unit found to lack viewpoint diversity
        must be reformed by admitting a critical mass of students who will provide viewpoint
        diversity.

    •   Governance and leadership reforms. … Harvard must make meaningful governance
        reform and restructuring … [including] empowering tenured professors and senior
        leadership, and, from among the tenured professoriate and senior leadership, exclusively
        those most devoted to the scholarly mission of the University and committed to the
        changes indicated in this letter; reducing the power held by students and untenured
        faculty; [and] reducing the power held by faculty (whether tenured or untenured) and
        administrators more committed to activism than scholarship.

    •   International Admissions Reform. … [T]he University must reform its recruitment,
        screening, and admissions of international students to prevent admitting students hostile
        to the American values and institutions inscribed in the U.S. Constitution and Declaration
        of Independence, including students supportive of terrorism or anti-Semitism. Harvard
        will immediately report to federal authorities, including [DHS] and [the] State
        Department, any foreign student, including those on visas and with green cards, who
        commits a conduct violation. … [T]hese reforms must be durable and demonstrated
        through structural and personnel changes.

    •   Student Discipline Reform and Accountability. … In the future, funding decisions for
        student groups or clubs must be made exclusively by a body of University faculty
        accountable to senior University leadership. In particular, Harvard must end support and
        recognition of those student groups or clubs that engaged in anti-Semitic activity since
        October 7th, 2023, including the Harvard Palestine Solidarity Committee, Harvard
        Graduates Students 4 Palestine, Law Students 4 Palestine, Students for Justice in
        Palestine, and the National Lawyers Guild, and discipline and render ineligible the
        officers and active members of those student organizations.

    •   Transparency and Monitoring. … The University shall … , [n]o later than June 30,
        2025, and every quarter thereafter … at least until the end of 2028, … submit to the federal
        government a report—certified for accuracy—that documents its progress on the
        implementation of the reforms detailed in this letter …. [and] must also, to the satisfaction
        of the federal government, disclose the source and purpose of all foreign funds; cooperate
        with the federal government in a forensic audit of foreign funding sources and uses,
        including how that money was used by Harvard, its agents, and … third parties acting on
        Harvard’s campus.

Id. at 1-5.




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        101.    The Demand Letter reiterated the government’s expectation of “immediate

cooperation in implementing these critical reforms.” Id. at 5. It cited no authority for that demand

or any other.

        102.    On April 14, 2025, Harvard declined to accept the government’s demands.

President Garber, in a letter to the Harvard Community, wrote: “Although some of the demands

outlined by the government are aimed at combating antisemitism, the majority represent direct

governmental regulation of the ‘intellectual conditions’ at Harvard.”14 President Garber added that

“[n]o government—regardless of which party is in power—should dictate what private universities

can teach, whom they can admit and hire, and which areas of study and inquiry they can pursue.”

Id. at 2.

        103.    In a separate April 14, 2025 letter to the government, attorneys for Harvard stated

that “[n]either Harvard nor any other private university can allow itself to be taken over by the

federal government.”15

        104.    The government’s response was swift and punishing. The same day, the Federal

Task Force responded by “announcing a freeze on $2.2 billion in multi-year grants and $60M in

multi-year contract value to Harvard University” (the “Freeze Order”).16 The Freeze Order cited

“[t]he harassment of Jewish students” and “the troubling entitlement mindset that is endemic in

our nation’s most prestigious universities and colleges.” Id.



14
  Alan M. Garber, The Promise of American Higher Education, Harvard Univ., Office of the
President (Apr. 14, 2025) (the “Garber Letter”) (attached as Exhibit 10).
15
  Letter from William A. Burck & Robert K. Hur, Counsel for Harvard Univ., to Josh Gruenbaum,
U.S. Gen. Servs. Admin., Sean R. Keveney, U.S. Dep’t of Health & Hum. Servs., and Thomas E.
Wheeler, U.S. Dep’t of Educ., at 2 (Apr. 14, 2025) (attached as Exhibit 11).
16
  Press Release, U.S. Dep’t of Educ., Joint Task Force to Combat Anti-Semitism Statement
Regarding Harvard University (Apr. 14, 2025) (the “Freeze Order”) (attached as Exhibit 12).



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       105.    The government immediately began implementing the Freeze Order. Within hours

of the Freeze Order, Harvard began receiving stop work orders.

       106.    The next morning, on April 15, 2025, President Trump published the following post

on his social media website, Truth Social:17




       107.    The following day—April 16, 2025—President Trump again targeted Harvard in a

Truth Social post:18




17
   President Donald J. Trump (@realDonaldTrump), Truth Social (Apr. 15, 2025, 10:09 AM)
(attached as Exhibit 13); see also Tyler Pager et al., Trump Threatens Harvard’s Tax Status,
Escalating Billion-Dollar Pressure Campaign, N.Y. Times (Apr. 15, 2025) (attached as
Exhibit 14).
18
   President Donald J. Trump (@realDonaldTrump), Truth Social (Apr. 16, 2025, 7:05 AM)
(attached as Exhibit 15).



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D.     The April 16, 2025 Records Request

       108.    Within hours of the President’s April 16 Truth Social post, Secretary Noem sent

HIO a letter entitled “Student and Exchange Visitor Program Records Request.”19 The Records

Request demanded voluminous documents, including those not contemplated by any of the

applicable statutes or regulations, and threatened to withdraw Harvard’s certification in the event

of noncompliance:

               a.     The Records Request began by stating that Harvard’s foreign student

program “is a privilege[,] … not a guarantee” and that “[t]he United States Government

understands that Harvard University relies heavily on foreign student funding from over 10,000

foreign students to build and maintain their substantial endowment.” Id. at 1. The Request offered

no basis for this claim, though its reference to “foreign student funding,” id., echoes language in

the April 11 Demand Letter seeking to require Harvard to permit the government to inspect all

“foreign funding sources and uses,” Ex. 9 at 5.

               b.     The Records Request continued: “At the same time, your institution has

created a hostile learning environment for Jewish students due to Harvard’s failure to condemn

antisemitism.” Ex. 16 at 1. Quoting Executive Order 14188, the letter stated that it is “the policy

of the United States to combat anti-Semitism vigorously, using all available and appropriate legal

tools, to prosecute, remove, or otherwise hold to account the perpetrators of unlawful anti-Semitic

harassment and violence.’” Id. Again, the Request offered no basis for the claim that Harvard

“created a hostile learning environment for Jewish students,” id., which paralleled claims made in

the government’s March 31, April 3, and April 11 communications to Harvard. See Ex. 7 at 1


19
   Letter from Kristi Noem, U.S. Dep’t of Homeland Sec., to Maureen Martin, Harvard Univ.,
Student and Exchange Visitor Program Records Request (Apr. 16, 2025) (the “Records Request”)
(attached as Exhibit 16).



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(asserting that Harvard has neglected its “dut[y] to curb or combat anti-Semitic harassment”); Ex. 8

at 1 (asserting that Harvard operates “biased programs that fuel antisemitism”); Ex. 9 at 3

(asserting that some Harvard programs have “[e]gregious [r]ecords of [a]ntisemitism”).

               c.      The Records Request then shifted gears, stating that the SEVP “regularly

monitors SEVP-approved schools to determine their compliance with governing regulations,” and

the “accuracy of information in” SEVIS. Id. It went on: “Your continued SEVP certification is

contingent upon meeting the requirements of the U.S. Department of Homeland Security (DHS),

set out in Title 8 Code of Federal Regulations (8 CFR).” Ex. 16 at 1.

               d.      Pointing to one of the provisions contained in the referenced regulations,

the Records Request then stated that “SEVP may request information regarding nonimmigrant

students from certified schools under 8 CFR § 214.3(g)(1).” Id. Invoking the government’s

authority under that provision, the Records Request stated that Harvard’s PDSO “must submit the

following information to our office on or before April 30, 2025,” id. at 1-2:

               1. Provide relevant information regarding each student visa holder’s known illegal
                  activity, and whether the activity occurred on campus.

               2. Provide relevant information regarding each student visa holder’s known
                  dangerous or violent activity, and whether the activity occurred on campus.

               3. Provide relevant information regarding each student visa holder’s known
                  threats to other students or university personnel, and whether the activity
                  occurred on campus.

               4. Provide relevant information regarding each student visa holder’s known
                  deprivation of rights of other classmates or university personnel, and whether
                  the activity occurred on campus.

               5. Provide relevant information on whether any student visa holders have left
                  Harvard University due to dangerous or violent activity or deprivation of rights,
                  and whether the activity occurred on campus.

               6. Provide relevant information on whether any student visa holders have had
                  disciplinary actions taken as a result of making threats to other students or



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                    populations or participating in protests, which impacted their nonimmigrant
                    student status.

               7. Provide relevant information regarding each student visa holder’s obstruction
                  of the school’s learning environment.

               8. Provide relevant information regarding each student visa holder’s maintenance
                  of at least the minimum required coursework to maintain nonimmigrant student
                  status.

       109.    Despite the letter’s invocation of Section 214.3(g)(1), much of the information

listed above is not information that HIO is required to maintain or report to DHS under that

provision.

       110.    The Records Request did not define any terms in these requests—such as “known,”

“illegal,” “dangerous or violent,” “deprivation of rights,” “threats,” or “obstruction of the school’s

learning environment”—and did not specify a time period for which the specified information was

requested. Yet it threatened serious consequences for noncompliance, for both the PDSO who

would be responsible for submitting the responsive documents and Harvard itself:

               a.      As to the PDSO, attached to the Records Request was an “Evidence

Attestation Statement” to be completed and signed by the PDSO and submitted in connection with

the production of documents. This Attestation asked the PDSO to personally attest to her

understanding that “willful misstatements may constitute perjury (18 USC § 1621)”; that

“providing materially false, fictitious, or fraudulent information may subject me to criminal

prosecution under 18 USC § 1001”; and that “[o]ther possible criminal and civil violations may

also be applicable[.]” Ex. 16 at 3; see also id. at 2 (also invoking 8 U.S.C. § 1001 and “[o]ther

possible criminal and civil violations”).

               b.      The Evidence Attestation Statement also asked the PDSO to attest to her

understanding that “SEVP may review my institution’s certification at any time and may request




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documentation to establish my institution’s eligibility for certification as well as review evidence

and records for compliance with the regulations.” Id. at 3.

               c.         Finally, the Records Request warned Harvard that “[f]ailure to comply with

this Records Request will be treated as a voluntary withdrawal, per 8 CFR § 214.3(h)(3)(vii).” Id.

at 2. It concluded: “Therefore, in the event the school fails to respond to this request [by April 30,

2025], SEVP will automatically withdraw the school’s certification. The withdrawal will not be

subject to appeal.” Id.

       111.    Shortly after DHS sent HIO the Records Request, it publicized the Request—as

well as DHS’s cancellation of “two DHS grants totaling over $2.7 million to Harvard”—in a press

release (the “Press Release”).20 The Press Release referred to the Records Request as a “scathing

letter demanding detailed records on Harvard’s foreign student visa holders’ illegal and violent

acts.” Id. The Press Release asserted that Harvard has “ben[t] the knee to antisemitism,” adopted

a “radical ideology,” and allowed “anti-American, pro-Hamas ideology [to] poison[] its campus

and classrooms,” such that “Harvard’s position as a top institution of higher learning is a distant

memory.” Id. It concluded by stating that “if Harvard cannot verify it is in full compliance with its

reporting requirements, the university will lose the privilege of enrolling foreign students.” Id.

       112.    Over the last twelve years, HIO has received only a handful of requests for

information about its F-1 visa students. These requests have generally sought straightforward

information plainly contemplated by the applicable regulations, such as the student’s email,

physical addresses, and phone number, about a single student at a time. No prior request has asked

for information as broad or open-ended—or covering as many students—as the Records Request.


20
   Press Release, U.S. Dep’t of Homeland Sec., Secretary Noem Terminates $2.7 Million in DHS
Grants; Orders Harvard to Prove Compliance with Foreign Student Requirements (Apr. 16, 2025)
(the “Press Release”) (attached as Exhibit 17).



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No prior request, moreover, has ever come directly from the Secretary of Homeland Security. Nor

has any prior request ever been accompanied by a Press Release calling the request “scathing” or

citing Harvard’s so-called “radical ideology”; included an “Evidence Attestation Statement”

suggesting that any misstatement may subject Harvard’s PDSO or anyone else to criminal liability;

or threatened Harvard with “voluntary withdrawal” for less-than-perfect compliance.

E.     Subsequent Developments Prior to April 30

       113.    In the run-up to the April 30 deadline for Harvard’s response to the Records

Request, the Administration continued its public attack on Harvard.

       114.    On April 17, 2025, Secretary of Education Linda McMahon sent Harvard a letter

accusing the University of “incomplete and inaccurate disclosures” of foreign gifts and contracts

pursuant to Section 117 of the Higher Education Act of 1965. Secretary McMahon demanded that

Harvard release a list of gifts, grants, and contracts from foreign sources, communications between

Harvard and foreign governments, and internal correspondence about expelled foreign students

and faculty affiliated with foreign countries.

       115.     On April 20, 2025, the Administration threatened to pull an additional $1 billion

in Harvard’s federal funding that had been allocated for health research.




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       116.     On April 24, 2025, President Trump posted the following message on Truth

Social:21




       117.     On April 25, 2025, the Acting Chair of the Equal Employment Opportunity

Commission, Andrea Lucas, filed a charge that launched an investigation in Harvard’s

employment practices.22

       118.     On April 30, 2025, President Trump, Secretary Noem, and Secretary McMahon

discussed Harvard at a public Cabinet meeting.23 At the conclusion of Secretary McMahon’s

remarks, President Trump offered his view that Harvard was “scamming the public and hiring

people like [former New York City Mayor Bill] DeBlasio and [former Chicago Mayor] Lori

Lightfoot who are certainly two of the worst mayors in the history of our country, paying them a

fortune on salary, and having them teach our children how to manage cities and how to manage




21
   President Donald J. Trump (@realDonaldTrump), Truth Social (Apr. 24, 2025, 9:33 AM)
(attached as Exhibit 18).
22
  In addition, on May 13, 2025, the Department of Justice issued a civil investigative demand to
the University, purporting to investigate False Claims Act violations related to Harvard’s
compliance with the U.S. Supreme Court’s 2023 decision in Students for Fair Admissions v.
President and Fellows of Harvard College.
23
  The White House, President Trump Participates in a Cabinet Meeting, Apr. 30, 2025, YouTube
(Apr. 30, 2025), available at https://www.youtube.com/watch?v=wn2XtufOAHc.



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government.” Id. at 1:21:50-1:22:20. President Trump then asked Secretary McMahon for an

update on Harvard specifically, which led to the following colloquy:

       Secretary McMahon: We’re negotiating with them. When we went back to them
       to say we’d welcome them back to the negotiating table, their response was a
       lawsuit. So [Attorney General] Pam [Bondi] and her team are helping work with
       that. … We’re staying tough with them. The other thing we’re looking at also are
       the [Section] 117[24] violations of these big universities, like Harvard and others,
       who are not reporting, as they’re required to do by law, foreign money that comes
       in and how much that is and where it comes from.

       President Trump: And students, where are these people coming from?

       Secretary Noem: So, we’ve pulled back their grants because Harvard isn’t
       responding to us [about] criminal activity by their students. And until they give us
       that list they’re not getting any more grants from Homeland Security.

       President Trump: Good, I think we should pull it back. The students they have,
       the professors they have, the attitude they have, is not American and I think you
       should—a grant is a grant, we don’t have to give grants.

       Secretary Noem: Exactly right.

       President Trump: So we’ll pull back the grant.

Id. at 1:22:21-1:23:33 (emphasis added).

F.     Harvard’s Compliance With the Records Request

       119.    Despite the scope and context of the Records Request, HIO worked diligently to

comply and produce responsive information that it maintains under the governing statute and

regulations.

       120.    To that end, within the 10 working days DHS allotted for compliance, HIO

collected and produced thousands of pages of records responsive to the Records Request

maintained by or accessible to HIO as required by 8 C.F.R. § 214.3(g)(1).



24
  Secretary McMahon’s reference was likely to Section 117 of the Higher Education Act of 1965,
20 U.S.C. § 1011f.



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       121.    The production was accompanied by a cover letter (the “First Production Letter”)

explaining the scope of Harvard’s responsive production and responding to the allegations in the

Demand Letter.25

       122.    The First Production Letter noted that “portions of the [Records Request] seek

categories of information using terms not defined in the regulation.” Id. at 1. But it explained that,

because “Harvard is committed to good faith compliance,” it was “producing responsive materials

that [it] believe[s] are reasonably required by 8 C.F.R. § 214.3(g)(1).” Id.

       123.    Accordingly, the First Production Letter explained that Harvard had produced the

following categories of “information relevant to F-1 status” in response to the Records Request:

(1) “[r]ecords that reflect student enrollment information, by SEVIS ID Number, for each F-1 visa

holder enrolled at Harvard throughout the duration of the program in which that student is presently

enrolled”; and (2) “SEVIS termination and cancellation data that include SEVIS ID Number,

SEVIS Status, Education Level, Major/Academic Program, Date of Termination or Cancellation,

Termination or Cancellation Reason, and Program Start and End Date.” Id. at 2. This latter

category of data, the First Production Letter explained, “reflect[s] changes to nonimmigrant status

for a range of reasons, including but not limited to disciplinary action,” though “[t]he basis for any

such disciplinary action is not covered by 8 C.F.R. § 214.3(g)(1).” Id.

       124.    Since the Records Request did not specify a time period, Harvard produced this

information for “academic year 2023-2024 and academic year 2024-2025 (through and including

April 30, 2025),” though the student enrollment records produced as to some students cover shorter

or longer periods, depending on the duration of the student’s academic program. Id. at 1.



25
  Letter from Steve Bunnell, Counsel for Harvard Univ., to SEVP, Re: Harvard University –
BOS214F00162000 (April 30, 2025) (the “First Production Letter”) (attached as Exhibit 19).



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       125.    The First Production Letter noted that “Harvard’s production reflects its best effort

to meet [the Records Request’s April 30] deadline notwithstanding the scope of the requests in the

[Records Request], which cover more than 5,200 students.” Id. And it explained that “[i]f Harvard

discovers additional information falling into the categories listed above, it will promptly produce

that information as a supplement.” Id.

       126.    The First Production Letter emphasized, in bold and underlined font, that “Harvard

is complying with the [Records Request’s] lawful requests in lieu of voluntary withdrawal

from SEVP certification. Harvard does not seek to withdraw from SEVP. Any withdrawal

of Harvard’s certification would be involuntary and would cause immediate harm and

disruption to Harvard, its mission, and its thousands of international students who hail from

over 140 countries and enrich the University community immeasurably with their presence

and contributions.” Id.

       127.    The First Production Letter went on to state, also in bold and underlined font, that

“[i]f any aspect of this production raises questions or is deemed incomplete or insufficient in

any respect, and before DHS takes any steps adverse to Harvard due to any perceived

deficiency in Harvard’s response, Harvard respectfully requests that DHS notify Harvard’s

counsel in writing and provide an opportunity to discuss, to be heard, and to cure.” Id. at 2-3.

       128.    Finally, the First Production Letter addressed the Records Request’s allegations

“that Harvard has ‘created a hostile learning environment for Jewish students’ due to a purported

‘failure to condemn antisemitism,’ and that Harvard ‘relies heavily on foreign student funding …

to build and maintain [its] substantial endowment.’” Id. at 3. The Production Letter explained that

“[t]hese assertions have no basis in fact, and [the Records Request] suggests none.” Id. And it

affirmed that, “[t]o the contrary, Harvard has strongly and repeatedly condemned antisemitism and




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has undertaken substantial efforts to ensure that its campus is safe, fair, and welcoming to Jewish

and Israeli students—including those who attend Harvard on F-1 visas.” Id.

       129.    The First Production Letter concluded: “In short, Harvard denies the [Records

Request’s] assertions and any suggestion that they justify actions by DHS in contravention of the

statutes and regulations governing SEVP.” Id.

G.     Developments from April 30 to May 7

       130.    In the days after Harvard responded to the Records Request, Harvard received no

outreach from DHS. But the Administration continued to target Harvard in other ways.

       131.    On May 2, 2025, the President posted the following on Truth Social:26




       132.    Then, on May 5, 2025, Secretary of Education Linda McMahon sent Harvard a

letter (the “McMahon Letter”) informing the University that “Harvard should no longer seek

GRANTS from the federal government, since none will be provided.”27 The McMahon Letter

stated that Harvard has “invited foreign students” who “show contempt for the United States of

America[] to its campus.” Id. at 1. And it asked: “Where do many of these ‘students’ come from,

who are they, how do they get into Harvard, or even into our country—and why is there so much

HATE?” Id. at 1. The McMahon Letter also criticized Harvard’s hiring decisions and its




26
    President Donald J. Trump (@realDonaldTrump), Truth Social (May 2, 2025, 7:25 AM)
(attached as Exhibit 20).
27
  Letter from Linda E. McMahon, Sec. of Educ., to Dr. Alan Garber, Harvard Univ., at 2 (May 5,
2025) (the “McMahon Letter”) (attached as Exhibit 21).



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“management” and asserted that Harvard “teach[es] [its] students to despise” the “free-market

system.” Id. at 1-2.

       133.    In a May 7, 2025 television interview, Secretary McMahon reiterated these

statements, stating about Harvard: “[A]re they vetting students who are coming in from outside

of the country to make sure they’re not activists? Are they vetting professors that they’re hiring

to make sure that they’re not teaching ideologies, but that they’re teaching subject matter? ….

They’ve taken a very hard line, so we took a hard line back.”28

H.     DHS’s Second Information Request and Harvard’s Second Document Production

       134.    On May 7, 2025, Acting General Counsel of the Department of Homeland

Security, Joseph Mazzara, sent an email to Harvard’s counsel (the “Mazzara Email”) indicating

that DHS had reviewed Harvard’s initial document production and “concluded that it does not

completely address the Secretary’s request.”29

       135.    The Mazzara Email reiterated DHS’s request for four of the eight categories of

information referenced in the Records Request—those relating to student visa holders’ “known

illegal activity,” “known dangerous or violent activity,” “known threats to other students or

university personnel,” and “known deprivation of rights of other classmates or university

personnel”—and indicated that Harvard’s response should “likely include the disciplinary

records for student visa holders.” Id.

       136.    The Mazzara Email gave Harvard until the close of business on May 14, 2025, to

respond.


28
  CNBC Television, Education Secretary Linda McMahon to Harvard: Obey the law and you can
be eligible for funding, YouTube, at 1:04-31 (May 7, 2025), available at
https://www.youtube.com/watch?v=bb6YJUHMqc4.
29
   Email from Joseph Mazzara, DHS, to Steve Bunnell, Counsel for Harvard Univ. (May 7, 2025)
(the “Mazzara Email”) (attached as Exhibit 22).



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        137.    On May 12, 2025, Harvard’s counsel sent Acting General Counsel Mazzara an

email observing that the Mazzara Email, like the Records Request before it, “ask[ed] for

information outside of 8 C.F.R. § 214.3(g)(1), which was cited in the [Records Request].”30 The

email asked if Harvard should construe the Mazzara Email “as requesting information under 8

C.F.R. § 214.3(g)(2).” Id. On May 13, 2025, Harvard had not yet heard back from Mr. Mazzara,

so its counsel sent Mr. Mazzara a follow-up email again asking whether Harvard should construe

the request as one under § 214.3(g)(2). See id.

        138.    On the morning of May 14, 2025, Mr. Mazzara wrote back, stating: “While many

of the records we are seeking and have received may be required to be kept by Harvard pursuant

to 8 C.F.R. § 214.3(g)(1), our authority to request information is broader. We are requesting

records pursuant to all our authorities contained in 8 C.F.R.§ 214 (many of which are also

refenced in the letter).” Id.

        139.    On May 14, 2025, Harvard sent DHS a letter (the “Second Production Letter”)

responding to the additional requests made in the Mazzara Email.31 As the Second Production

Letter explained, Harvard identified three F-1 visa students who were subject to discipline that

resulted in a change of academic status as defined in 8 C.F.R. § 214.3(g)(1)(vi) where the

discipline was based on one of the four categories of conduct identified in the Mazzara Email. Id.

at 1. For each of these three students, Harvard provided information about the conduct that led to

discipline. Id. The Second Production Letter explained that, as to the request for conduct that

involved “known deprivation of rights,” Harvard interpreted the phrase in line with federal



30
   Email Exchange between Joseph Mazzara, DHS, and Steve Bunnell, Counsel for Harvard Univ.,
at 1 (May 7 to May 14, 2025) (attached as Exhibit 23).
31
  Letter from Steve Bunnell, Counsel for Harvard Univ., to SEVP, Re: Harvard University –
BOS214F00162000 (April 30, 2025) (the “Second Production Letter”) (attached as Exhibit 24).



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statutes that “use[d] similar formulations [to] refer to rights secured by the Constitution or statute”

and found no students who received discipline on the basis of having “deprived a classmate or

university personnel of such rights.” Id. at 2. But the Second Production Letter stated that, if DHS

meant “something else” by this phrase, DHS should “let [Harvard] know, and, upon receipt of

clarification, [Harvard] will promptly reply in accordance with applicable law.” Id.

        140.     The Second Production Letter reiterated that Harvard did not wish to voluntarily

withdraw its SEVP certification, and asked for notice and an opportunity to be heard before DHS

took any adverse action stemming from perceived noncompliance. Id.

I.      DHS’s Revocation of Harvard’s Certification

        141.     After submitting the Second Production Letter, Harvard did not hear from DHS for

more than a week.

        142.     Then, on May 22, 2025, Secretary Noem sent Harvard a letter entitled “Harvard’s

Student and Exchange Visitor Program Decertification” (the “Revocation Notice”) stating that,

“effective immediately, Harvard University’s Student and Exchange Visitor Program certification

is revoked.”32

        143.     The Revocation Notice, like the Records Request before it, stated that “it is a

privilege to enroll foreign students.” The Notice added that “it is also a privilege to employ aliens

on campus.” Id. at 1. It asserted that, as a result of Harvard’s “refusal to comply with multiple

requests to provide [DHS] pertinent information while perpetuating an unsafe campus environment

that is hostile to Jewish students, promotes pro-Hamas sympathies, and employs racist ‘diversity,

equity, and inclusion’ policies, [Harvard] ha[s] lost this privilege.” Id.


32
  Letter from Kristi Noem, U.S. Dep’t of Homeland Sec., to Maureen Martin, Harvard Univ.,
Harvard’s Student and Exchange Visitor Program Decertification (May 22, 2025) (the
“Revocation Notice”) (attached as Exhibit 25).



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       144.    The    Revocation     Notice   acknowledged      the   profound    consequences     of

decertification. It stated that, effective immediately, “Harvard is prohibited from having any aliens

on F- or J- nonimmigrant status for the 2025-2026 academic school year.” Id. It also stated that

“[t]his decertification also means that existing aliens on F- or J- nonimmigrant status must transfer

to another university in order to maintain their nonimmigrant status.” Id.

       145.    The Revocation Notice stated that this action was “the unfortunate result of

Harvard’s failure to comply with simple reporting requirements.” Id. But the Revocation Notice

did not identify any specific “reporting requirements” with which Harvard had failed to comply,

and did not cite any of the regulatory provisions governing an SEVP-certified school’s reporting

requirements. Id. Instead, the Revocation Notice stated that Harvard had failed to comply with the

demands in the Records Request and the Mazzara Email for “information regarding misconduct

and other offenses that would render foreign students inadmissible or removable.” Id. But, as

explained above, the regulations governing schools’ eligibility for SEVP certification do not

require Harvard to maintain records on such information or report it to DHS.

       146.    The Revocation Notice stated that DHS had revoked Harvard’s certification “to

send a clear signal to Harvard and all universities that want to enjoy the privilege of enrolling

foreign students, that the Trump Administration will enforce the law and root out the evils of anti-

Americanism and antisemitism in society and campuses.” Id.

       147.    The Revocation Notice offered Harvard no opportunity to defend itself against the

withdrawal of its certification, including to present evidence or be heard on its argument that it has

complied with the law. See 8 C.F.R. § 214.4(b)-(f). Nor did the Revocation Notice offer Harvard

any opportunity to cure the supposed noncompliance prior to revocation of its certification. See 5

U.S.C. § 558(c).




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       148.    The Revocation Notice also provided Harvard no avenue for seeking administrative

review of the withdrawal of its certification. See 8 C.F.R. § 214.4(h).

       149.    Having summarily revoked Harvard’s SEVP certification, the Revocation Notice

went on to state that “[i]f Harvard would like the opportunity of regaining [SEVP] certification

before the upcoming academic school year, [it] must provide all of the information requested

below within 72 hours”:

               1. Any and all records, whether official or informal, in the possession of Harvard
                  University, including electronic records and audio or video footage, regarding
                  illegal activity whether on or off campus, by a nonimmigrant student enrolled
                  in Harvard University in the last five years.

               2. Any and all records, whether official or informal, in the possession of Harvard
                  University, including electronic records and audio or video footage, regarding
                  dangerous or violent activity whether on or off campus, by a nonimmigrant
                  student enrolled in Harvard University in the last five years.

               3. Any and all records, whether official or informal, in the possession of Harvard
                  University, including electronic records and audio or video footage, regarding
                  threats to other students or university personnel whether on or off campus, by a
                  nonimmigrant student enrolled in Harvard University in the last five years.

               4. Any and all records, whether official or informal, in the possession of Harvard
                  University, including electronic records and audio or video footage, regarding
                  deprivation of rights of other classmates or university personnel whether on or
                  off campus, by a nonimmigrant student enrolled in Harvard University in the
                  last five years.

               5. Any and all disciplinary records of all nonimmigrant students enrolled in
                  Harvard University in the last five years.

               6. Any and all audio or video footage, in the possession of Harvard University, of
                  any protest activity involving a nonimmigrant student on a Harvard University
                  campus in the last five years.

       150.    These demands seek different—and a broader set of—information than what the

Records Request sought. And the Revocation Notice cited no statutory or regulatory authority for

these additional demands.




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         151.   Shortly after she sent Harvard the Revocation Notice, Secretary Noem posted an

image of the Revocation Notice on X (the “Noem Post”), along with a message stating that “[t]his

Administration is holding Harvard accountable for fostering violence, antisemitism, and

coordinating with the Chinese Communist Party on its campus.”33

         152.   DHS also issued a press release (the “Revocation Press Release”) proclaiming:

“Harvard University Loses Student and Exchange Visitor Program Certification for Pro-Terrorist

Conduct.”34 The Revocation Press Release began by asserting: “Harvard’s leadership has created

an unsafe campus environment by permitting anti-American, pro-terrorist agitators to harass and

physically assault individuals, including many Jewish students, and otherwise obstruct its once-

venerable learning environment. Many of these agitators are foreign students. Harvard’s leadership

further facilitated, and engaged in coordinated activity with the CCP, including hosting and

training members of a CCP paramilitary group complicit in the Uyghur genocide.” Id. at 1. The

Revocation Press Release then quoted the Noem Post in its entirety, adding boldfaced emphasis to

the Noem Post’s reference to “the Chinese Communist Party.” Id.

         153.   The Revocation Press Release stated that, “[o]n April 16, 2025, Secretary Noem

demanded Harvard provide information about the criminality and misconduct of foreign students

on its campus.” Id. And it asserted that “Harvard University brazenly refused to provide the

required information requested and ignored a follow up request from the Department’s Office of

General Council. [sic] Secretary Noem is following through on her promise to protect students and

prohibit terrorist sympathizers from receiving benefits from the U.S. government.” Id. The



33
     @Sec_Noem, X (May 22, 2025, 2:01 PM ET) (the “Noem Post“) (attached as Exhibit 26).
34
  Press Release, U.S. Dep’t of Homeland Sec., Harvard University Loses Student and Exchange
Visitor Program Certification for Pro-Terrorist Conduct (May 22, 2025) (the “Revocation Press
Release”) (attached as Exhibit 27).



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Revocation Press Release also did not identify any specific reporting requirements with which

Harvard allegedly failed to comply.

       154.    The Revocation Press Release stated that “[t]his action comes after DHS terminated

$2.7 million in DHS grants for Harvard last month.” Id.

       155.    The Revocation Press Release then went on to list a number of purported “[f]acts

about Harvard’s toxic campus climate,” including allegations of “pervasive race discrimination

and anti-Semitic harassment plaguing [Harvard’s] campus.” Id. The Revocation Press Release also

stated that, “[i]nstead of protecting its students, Harvard has let crime rates skyrocket, enacted

racist DEI practices, and accepted boatloads of cash from foreign governments and donors.” Id. at

2.

       156.    None of the factual allegations levied against Harvard in the Revocation Notice,

Noem Post, and Revocation Press Release have been subjected to the opportunity for rebuttal

required under DHS’s process for withdrawal of SEVP certification.

J.     The Immediate and Irreparable Harm to Harvard

       157.    The government’s unlawful revocation of Harvard’s longstanding SEVP status is

already causing the University immediate and irreparable harm and will lead to a cascade of

negative consequences affecting Harvard and its community.

       158.    First, the government’s actions seriously and immediately disrupt the University’s

ongoing, day-to-day operations. International students play vital roles on campus, including as

instructors, academic and residential advisors, lab managers, and medical providers. Eliminating

the population of F-1 and J-1 students fulfilling these functions will halt important research,

hamper the educational experience for students left without teachers or advisors, and deprive the

community of medical care. This is particularly true in the STEM fields, where international




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students contribute significantly to Harvard’s critical research enterprise. The sudden inability to

maintain these students’ enrollment jeopardizes ongoing research projects, damages Harvard’s

reputation as a world-class research institution, and deprives our nation of the benefits of these

vital research projects.

       159.    Second, the loss of certification irreparably harms Harvard’s ability to compete

with other institutions for the most qualified applicants at home and abroad. In our interconnected

global economy, a university that cannot welcome students from all corners of the world is at a

competitive disadvantage. Harvard’s F-1 and J-1 visa programs are therefore a key factor in

maintaining its standing in academia. If DHS’s action is permitted to stand, Harvard will not be

able to offer admission to any new visa holder students for at least the next two class years, see 8

C.F.R. § 214.4(i)(1)-(2), and perhaps longer, since once DHS takes the drastic action of

withdrawing certification, it forever retains discretion whether to allow Harvard ever to petition

for renewed certification, id. § 214.4(a)(2). Even if Harvard were ever to regain certification, future

applicants may shy away from applying out of fear of further reprisals from the government.

       160.    Third, the abrupt revocation of certification impairs the educational experience of

all Harvard students by diminishing the global character and overall strength of the institution.

This is particularly true for specific programs that offer richer experiences when they feature

dialogue between students from different backgrounds. For instance, the Harvard Kennedy School

curriculum focuses on global politics, international systems of governance, and similar topics on

which F-1 and J-1 visa holders can provide unique and direct commentary. Similarly, Harvard

Law School’s LL.M. program is enhanced by the participation of F-1 and J-1 visa holders, who

help deepen the community’s understanding of comparative law and foreign legal systems. The




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loss of these international students materially diminishes the breadth of discussion and debate

across the entire Harvard community and further irreparably damages Harvard and its reputation.

       161.    Fourth, the government’s actions irreparably damage HIO as an institution. Given

the importance of the F-1 and J-1 visa programs to Harvard’s educational mission, Harvard has

invested substantial resources in HIO programs and personnel to attract and enroll top-tier

international students, integrate them into the broader Harvard community, and comply with SEVP

requirements. HIO employs 25 professionals with specific expertise in supporting these processes,

and many are likely to go elsewhere if DHS’s actions are sustained. That office has an annual

budget of $3.44 million, a substantial portion of which is devoted to facilitating the admission of

international students and success of Harvard’s visa programs. The revocation of SEVP

certification renders much of Harvard’s investment in that office and the visa programs effectively

worthless, undermining years of careful institutional planning and resource allocation.

                                    CLAIMS FOR RELIEF

                              COUNT I
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                 CONTRARY TO CONSTITUTIONAL RIGHT
                    FIRST AMENDMENT RETALIATION

       162.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       163.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

       164.    Under the APA, a court shall “hold unlawful and set aside agency action … found

to be … contrary to constitutional right, power, privilege, or immunity.” Id. § 706(2)(B).

       165.    The First Amendment provides that the federal government “shall make no law …

abridging the freedom of speech.” U.S. Const. amend. I. The First Amendment also “prohibits

government officials from relying on the threat of invoking legal sanctions and other means of



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coercion … to achieve the suppression of disfavored speech.” Nat’l Rifle Ass’n of Am. v. Vullo,

602 U.S. 175, 189 (2024) (ellipses in original) (internal quotation marks omitted).

       166.    Academic freedom is “a special concern of the First Amendment.” Keyishian v. Bd.

of Regents of Univ. of N.Y., 385 U.S. 589, 603 (1967). Colleges and universities have a

constitutionally protected right to manage an academic community and evaluate teaching and

scholarship free from governmental interference. This right protects “not only students and

teachers, but their host institutions as well.” Asociación de Educación Privada de Puerto Rico,

Inc. v. Garcia-Padilla, 490 F.3d 1, 8 (1st Cir. 2007) (quotation marks omitted).

       167.    Harvard has long exercised its academic freedom by “determin[ing] for itself on

academic grounds who may teach” and what they teach. Weinstock v. Columbia Univ., 224 F.3d

33, 47 (2d Cir. 2000) (quotation marks omitted).

       168.    “As a general matter the First Amendment prohibits government officials from

subjecting an [entity] to retaliatory actions for engaging in protected speech.” Nieves v. Bartlett,

587 U.S. 391, 398 (2019) (internal quotation marks omitted). To succeed on a First Amendment

retaliation claim, a plaintiff must prove that: (1) it “engaged in constitutionally protected conduct”;

(2) it “was subjected to an adverse action by the defendant”; and (3) “the protected conduct was a

substantial or motivating factor in the adverse action.” D.B. ex rel. Elizabeth B. v. Esposito, 675

F.3d 26, 43 (1st Cir. 2012).

       169.    Each of these elements is satisfied here.

       170.    The demands in the April 11 Demand Letter go to the core of Harvard’s

constitutionally protected academic freedom by seeking to assert governmental control over

Harvard’s teaching, community, and governance. Accepting these demands would restrict

Harvard’s academic “programs,” Ex. 9 at 3, thereby constraining the content Harvard’s faculty




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may teach students. The demands also require that Harvard modify its hiring and admissions

practices to achieve the government’s preferred balance of viewpoints in every “department,”

“field,” and “teaching unit.” Id. And they seek to restrict Harvard’s ability to manage its own

internal “governance” and “leadership,” requiring Harvard to engage in a “governance reform and

restructuring” that “exclusively” “empower[s]” those faculty members who are “most …

committed to the changes” outlined in the Demand Letter and “reduc[es] the power held by faculty

… and administrators” who are “committed to activism.” Id. at 1.

       171.    Adhering to the demands would amount to relinquishing control over Harvard’s

core academic functions, thereby ceding Harvard’s constitutionally protected academic freedom.

Harvard’s refusal to do so, as stated by President Garber in his April 14 Letter to the Harvard

Community, is protected by the First Amendment. See Ex. 10.

       172.    Defendants then subjected Harvard to an adverse action by issuing the Revocation

Notice and revoking Harvard’s SEVP certification. That action was adverse: it deprives Harvard

of its constitutionally protected property interest in continued certification; prevents Harvard from

continuing its robust F-1 and J-1 visa programs, which have long inured to the benefit of the

broader Harvard community; damages Harvard’s reputation as a global research institution by

preventing the university from attracting top students and faculty from around the world; renders

meaningless years of careful institutional planning and resource allocation with respect to its F-1

and J-1 programs; and causes immediate chaos by potentially rendering over a quarter of Harvard’s

student body unlawfully present in the United States just days before the end of the spring term

and the start of the summer term, without regard to the vital role these students play on campus.

       173.    Harvard’s protected conduct—the exercise of its academic prerogatives and the

refusal to relinquish that freedom—was a substantial or motivating factor for this adverse action.




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The causal link is clear from the broader context in which the decertification occurred—a series

of unprecedented adverse actions, each in contravention of governing statutes and regulations, that

began mere hours after Harvard announced it would not comply with the demands.

       174.    The link between Harvard’s protected conduct and the government’s adverse

actions is also clear from the government’s own statements. In the April 16 Press Release, DHS

explained that it had issued a “scathing letter”—the Records Request—to Harvard demanding

“detailed records on Harvard’s foreign student visa holders’ illegal and violent activities,” because

of what the government views as Harvard’s tolerance for “anti-American, pro-Hamas ideology

poisoning its campus and classrooms.” The May 22 Revocation Notice makes similar statements,

accusing Harvard of “perpetuating an unsafe campus environment that is hostile to Jewish

students, promotes pro-Hamas sympathies, and employs racist “‘diversity, equity, and inclusion’

policies” and stating that the Administration will “root out the evils of anti-Americanism and

antisemitism in society and campuses.” And in the May 22 Revocation Press Release, DHS stated

that Harvard had lost its SEVP certification “for Pro-Terrorist Conduct” and its “toxic campus

climate,” not for any regulatory violations, and further stated that the revocation of Harvard’s

certification “comes after DHS terminated $2.7 million in DHS grants for Harvard last month,”

Ex. 27, at 1—all demonstrating that the revocation of Harvard’s certification is simply one part of

the government’s larger scheme of retaliation against Harvard.

       175.    The surrounding circumstances also make plain that Defendants have withdrawn

Harvard’s SEVP certification not for any valid reason, but because they seek to punish the

University for its courage in refusing to surrender its independence or relinquish its constitutional

rights under the First Amendment.




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                              COUNT II
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                 CONTRARY TO CONSTITUTIONAL RIGHT
             FIRST AMENDMENT VIEWPOINT DISCRIMINATION

       176.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       177.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

       178.    Under the APA, a court shall “hold unlawful and set aside agency action … found

to be … contrary to constitutional right, power, privilege, or immunity.” Id. § 706(2)(B).

       179.    The First Amendment prohibits the regulation or censure of speech based on “the

specific motivating ideology or the opinion or perspective of the speaker.” Reed v. Town of Gilbert,

576 U.S. 155, 168-69 (2015) (quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 829 (1995)). Such government action is a “‘blatant’ and ‘egregious form of content

discrimination’” and is subject to strict scrutiny. Id. at 168, 171 (citation omitted). A finding that

the government has discriminated based on viewpoint is “all but dispositive” in a First Amendment

challenge. Sorrell v. IMS Health Inc., 564 U.S. 552, 571 (2011).

       180.    The series of retaliatory actions against Harvard impermissibly seeks to employ

viewpoint-based distinctions as a means of correcting the University’s perceived “ideological

capture.” Ex. 9 at 1. The Demand Letter expressly classifies Harvard’s community members on

the basis of their actual or perceived viewpoints, requiring differential treatment along ideological

lines. Defendants’ actions designed to coerce Harvard’s compliance with these demands, including

the summary decertification, similarly aim to bring Harvard’s expressive activity (and the

expression of Harvard’s community members) more closely in line with the government’s

preferred viewpoints. “[T]he concept that government may restrict the speech of some elements of

our society in order to enhance the relative voice of others is wholly foreign to the First



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Amendment.” Buckley v. Valeo, 424 U.S. 1, 48-49 (1976), superseded by statute as stated in

McConnell v. Fed. Election Comm’n, 540 U.S. 93 (2003).

       181.    Defendants’ campaign of retribution against Harvard is expressly viewpoint-based,

both in its motivation and its demanded effects. The Demand Letter itself makes plain that its

demands are premised on the administration’s perception of Harvard as an institution in the grips

of “ideological capture,” whose leadership, faculty, and students lack sufficient “viewpoint

diversity.” Ex. 9 at 1-2. And the Press Release, which links those demands to what it touts as a

“scathing letter” threatening Harvard’s SEVP certification, doubles down—citing Harvard’s “anti-

American … ideology,” its research that supposedly “brand[s] conservatives as far-right

dissidents,” and its “public health propaganda.” Ex. 17. And the Revocation Notice and the

Revocation Press Release make many of the same points, while failing to identify any failure by

Harvard to comply with the regulations governing SEVP certification. In other words, Defendants

expressly attribute perceived viewpoints to Harvard and have targeted the University (including

its SEVP certification) on that basis.

       182.    Viewpoint discrimination that is retaliatory cannot be justified by any government

interest. After all, the “bare ... desire to harm a politically unpopular group” is not a “legitimate

state interest[],” much less a compelling one. City of Cleburne v. Cleburne Living Ctr., 473 U.S.

432, 446-47 (1985) (ellipsis in original) (internal quotation marks omitted) (emphasis added).

       183.    In any event, even supposing the revocation of Harvard’s certification served some

compelling governmental interest, Defendants cannot reasonably argue that summary withdrawal

is the “least restrictive means of achieving” it. Ams. for Prosperity Found. v. Bonta, 594 U.S. 595,

607 (2021) (quotation marks omitted). Defendants’ own regulations supply, and indeed require, a

less restrictive means of ensuring compliance by SEVP-certified institutions: namely, by following




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a detailed set of procedures for resolving alleged noncompliance that present opportunities for the

institution to cure prior to withdrawal. Defendants failed to follow those procedures and instead

summarily revoked Harvard’s certification.

          184.   These constitutional violations cause immediate, ongoing, and irreparable harm to

Harvard.

                              COUNT III
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                 CONTRARY TO CONSTITUTIONAL RIGHT
                     UNCONSTITUTIONAL CONDITION

          185.   Harvard incorporates by reference the allegations of the preceding paragraphs.

          186.   Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

          187.   Under the APA, a court shall “hold unlawful and set aside agency action … found

to be … contrary to constitutional right, power, privilege, or immunity.” Id. § 706(2)(B).

          188.   Although the government generally may “impose limits on the use of [government]

funds to ensure they are used in the manner Congress intends,” the government cannot “leverage

funding to regulate speech” or other protected conduct “outside the contours of the [government]

program itself.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 213-15

(2013).

          189.   The First Amendment forbids the government from conditioning access to

government benefits on the relinquishing of constitutional rights or adherence to the government’s

viewpoint. That is true even where the speaker “has no entitlement to that benefit.” Rumsfeld v.

Forum for Acad. & Institutional Rts., Inc., 547 U.S. 47, 59 (2006) (quotation marks omitted).




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       190.    SEVP certification is a government benefit and thus cannot be conditioned on an

institution’s relinquishing its academic freedom or adopting the government’s preferred

viewpoints.

       191.    Here, the government made clear that Harvard would face significant consequences

unless it agreed to conform the content of its teaching, the composition of its community, and the

structure of its governance to align with the government’s agenda—that is, if it conformed its own

speech to the government’s preferred message. Those conditions are plainly unconstitutional.

       192.    Harvard complied with the lawful inquiries in the Records Request and the Mazzara

Email by producing requested documents that fell within the scope of the University’s

recordkeeping obligations as a SEVP-certified institution. Yet DHS summarily deemed these

responses “insufficient,” Ex. 25 at 1, without identifying any actual regulatory requirement with

which Harvard had failed to comply, and revoked Harvard’s certification “effective immediately,”

id., without providing Harvard an opportunity to cure any purported noncompliance or otherwise

following the usual, required procedures.

       193.    By threatening to revoke Harvard’s SEVP certification in retaliation for

constitutionally protected conduct, and then following through on that threat without any

legitimate regulatory basis for doing so, Defendants effectively conditioned Harvard’s SEVP

certification on the University’s relinquishing of its constitutional rights. Put otherwise, Harvard’s

SEVP certification was effectively conditioned not on Harvard’s compliance with its obligations

as a SEVP-certified institution, but instead on its compliance with the administration’s

impermissible ideological demands. That condition violates the First Amendment.

       194.    This constitutional violation causes immediate, ongoing, and irreparable harm to

Harvard.




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                                   COUNT IV
                       VIOLATION OF THE FIRST AMENDMENT
                    (EQUITABLE CAUSE OF ACTION – ULTRA VIRES)

       195.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       196.    Even if the prerequisites for review under the Administrative Procedure Act were

not satisfied, federal courts have the “equitable power[]” to “enjoin unconstitutional actions by

state and federal officers.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327-28 (2015);

see also R.I. Dep’t of Envtl.. Mgmt. v. United States, 304 F.3d 31, 42-43 (1st Cir. 2002) (stating

that “[d]istrict court[s]” retain the “nonstatutory” power “to review agency action that is ultra

vires” and provide equitable relief unless Congress precludes that review).

       197.    As alleged in Counts I, II, and III, Defendants’ action to revoke Harvard’s SEVP

certification constitutes impermissible First Amendment retaliation and viewpoint discrimination

and involved the imposition of unconstitutional conditions. The Constitution forecloses any lawful

authority for Defendants’ actions.

       198.    Because Defendants’ actions are unconstitutional and ultra vires, this Court should

enjoin Defendants in their official capacities from withdrawing Harvard’s SEVP certification.

       199.    If Defendants’ actions are not declared unlawful, set aside, and enjoined as

unconstitutional and ultra vires, Harvard will suffer substantial injury, including irreparable injury.

                              COUNT V
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                          CONTRARY TO LAW
                    VIOLATION OF 8 C.F.R. § 214.4(b)-(h)

       200.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       201.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.




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       202.    The APA directs courts to hold unlawful and set aside agency action that is not in

accordance with law, id. § 706(2)(A), or that fails to observe “procedure required by law,” id.

§ 706(2)(D).

       203.    Under applicable regulations, if DHS wishes to withdraw a school’s certification

out-of-cycle, it must provide the school with a NOIW stating “[t]he grounds for withdrawing SEVP

certification.” 8 C.F.R. § 214.4(b)(1). After receiving a NOIW, the school has 30 days to submit

an answer either admitting or denying the allegations in the NOIW and supporting its position with

“sworn statements, and documentary or other evidence, to rebut the grounds for withdrawal of

certification.” Id. § 214.4(b)(2); see id § 214.4(d)-(e). The school must be given the opportunity to

request “a telephonic interview in support of its response to the NOIW,” id. § 214.4(b)(3), and it

must be permitted to be “represented by counsel of its choice” during these proceedings, id.

§ 214.4(c).

       204.    If DHS intends to proceed with withdrawing a school’s certification, it must

consider the school’s evidentiary submissions and issue a decision “explain[ing] in writing the

specific reasons for” withdrawing the certification. Id. § 103.3(a)(1)(i); see id. § 214.4(g). It must

also provide the school with the opportunity to take an administrative appeal of the decertification

decision. See id. § 214.4(h).

       205.    In addition, under 22 C.F.R. § 62.50(d)(1), only the Department of State can revoke

a school’s designation to sponsor J-1 students and only then with 30 days’ notice. That notice must

“specify the grounds for the proposed sanction and its effective date, advise the sponsor of its right

to oppose the proposed sanction, and identify the procedures for submitting a statement of

opposition thereto.” Id.




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       206.    The government did not provide Harvard with any of these procedural protections

prior to summarily revoking Harvard’s certification to host F-1 students and designation to sponsor

J-1 students. That is unlawful: “An agency may not … simply disregard rules that are still on the

books.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

       207.    Because Defendants failed to withdraw Harvard’s certification “in accordance

with” 8 C.F.R. § 214.4(b), id., the revocation of Harvard’s certification must be set aside.

       208.    The summary revocation of Harvard’s SEVP certification, without the benefit of

codified procedural protections, causes immediate, ongoing, and irreparable harm to Harvard.

                              COUNT VI
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                          CONTRARY TO LAW
                       VIOLATION OF 5 U.S.C. § 558

       209.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       210.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

       211.    The APA directs courts to hold unlawful and set aside agency action that is not in

accordance with law, id. § 706(2)(A), or which fails to observe “procedure required by law,” id.

§ 706(2)(D).

       212.    The APA defines “licenses” to include “the whole or part of an agency permit,

certificate, approval, registration, charter, membership, statutory exemption or other form of

permission.” Id. § 551(8).

       213.    SEVP certification is a “license” within the meaning of the APA. See Blackwell

Coll. of Bus., 454 F.2d at 933-35. Thus, in order to revoke that license, the government was

required to comply with the strictures of Section 558(c)(1)-(2).




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       214.    Section 558 provides that “[e]xcept in cases of willfulness or those in which public

health, interest, or safety requires otherwise, the withdrawal, suspension, revocation, or annulment

of a license is lawful only if, before the institution of agency proceedings therefore, the licensee

has been given” both (1) “notice by the agency in writing of the facts or conduct which may warrant

the action” and (2) “opportunity to demonstrate or achieve compliance with all lawful

requirements.” 5 U.S.C. § 558(c)(1)-(2).

       215.    DHS violated Section 558(c) because it failed to “institut[e] … agency

proceedings” for the revocation of Harvard’s SEVP certification, id. § 558(c), instead purporting

to summarily revoke Harvard’s certification by issuing the Revocation Notice.

       216.    DHS also violated Section 558(c)(1) because the Revocation Notice failed to

provide the required “notice … in writing of the facts or conduct which may warrant the action.”

Id. § 558(c)(1). The Revocation Notice does not identify any regulatory provision with which

Harvard failed to comply, instead purporting to revoke Harvard’s certification based on its failure

to comply with demands that exceeded the scope of its reporting requirements. Failure to comply

with such demands is not conduct that “may warrant” revocation of Harvard’s certification.

       217.    Relatedly, DHS also violated Section 558(c)(2). That provision requires DHS,

“before the institution of [revocation] proceedings,” to give schools an “opportunity to demonstrate

or achieve compliance with all lawful requirements” of licensure. Id. § 558(c)(2) (emphases

added). The “lawful requirements” of continued SEVP certification, id., are those specified by the

regulations. DHS has not identified any such lawful requirements with which Harvard has failed

to comply. Nor has it given Harvard the required chance to “demonstrate or achieve compliance

with” any such requirements. Id. § 558(c)(2).




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       218.    These violations of Section 558 cause immediate, ongoing, and irreparable harm to

Harvard by depriving the University of its property interest without required procedure.

                              COUNT VII
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                 CONTRARY TO CONSTITUTIONAL RIGHT
                      PROCEDURAL DUE PROCESS

       219.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       220.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

       221.    Under the APA, a court shall “hold unlawful and set aside agency action … found

to be … contrary to constitutional right, power, privilege, or immunity.” Id. § 706(2)(B).

       222.    As a license, SEVP certification is a protected property interest subject to the

procedural due process requirements of the Fifth Amendment to the U.S. Constitution. See

Blackwell Coll. of Bus. v. Att’y Gen., 454 F.2d 928, 933 (D.C. Cir. 1971) (holding that “withdrawal

of [certification]” is permitted “only in accordance with procedural due process”).

       223.    Due process requires the government to provide “fair notice of conduct that is

forbidden or required” before depriving private parties of their property. FCC v. Fox Television

Stations, Inc., 567 U.S. 239, 253 (2012); see Papachristou v. City of Jacksonville, 405 U.S. 156,

162 (1972). “This requirement of clarity in regulation is essential to the protections provided by

the Due Process Clause of the Fifth Amendment,” and “[i]t requires the invalidation of laws [and

regulations] that are impermissibly vague.” Fox Television Stations, 567 U.S. at 253.

       224.    Due process also requires notice and an opportunity to be heard “at a meaningful

time and in a meaningful manner” before the government may deprive a person of a protected

interest. Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (quotation marks omitted).




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       225.    Defendants violated Harvard’s right to procedural due process by (a) failing to

provide adequate notice of the grounds for withdrawal of Harvard’s SEVP certification and

opportunity to avoid those grounds; (b) failing to disclose the evidence upon which SEVP relied

in making its decision; and (c) denying Harvard a meaningful opportunity to respond to the

allegations and evidence before the adverse action was taken, including but not limited to a pre-

deprivation hearing.

       226.    The revocation also violated due process because the Records Request and the

Mazzara Email both “fail[ed] to provide a person of ordinary intelligence fair notice of what [was

required]” and was “so standardless that it authorize[d] or encourage[d] seriously discriminatory

enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008). DHS demanded information

that HIO is not required to maintain under the applicable regulations, did not specify the time

period for which it sought information, and employed hopelessly vague descriptions of the

information sought. DHS did not define what it considers to be “dangerous” conduct, or

“obstruction of the school’s learning environment,” within the meaning of the Records Request,

and those terms are not defined in the regulations. DHS then summarily stated that Harvard’s

responses were “insufficient.” Ex. 25 at 1.

       227.    Subjecting Harvard to deprivation of its protected property based on failure to

comply with this “impermissibly vague” request, Fox Television Stations, 567 U.S. at 253, plainly

designed to authorize “seriously discriminatory enforcement,” Williams, 553 U.S. at 304, violated

Harvard’s rights under the Due Process Clause.

       228.    Defendants’ actions deprive Harvard of its constitutionally protected property

interest in continued certification; prevent Harvard from continuing its robust F-1 visa program,

which has long inured to the benefit of the broader Harvard community; damage Harvard’s




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reputation as a global research institution; and disrupt years of careful institutional planning and

resource allocation with respect to its F-1 program.

       229.    The harm caused by the improper revocation of Harvard’s SEVP certification is

immediate and severe, while the additional burden on the government of providing constitutionally

adequate procedures would be minimal.

                                 COUNT VIII
                           PROCEDURAL DUE PROCESS
                   (EQUITABLE CAUSE OF ACTION – ULTRA VIRES)

       230.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       231.    Even if the prerequisites of review under the Administrative Procedure Act were

not satisfied, federal courts have the “equitable power[]” to “enjoin unconstitutional actions by

state and federal officers.” Armstrong, 575 U.S. at 327-28.

       232.    As alleged in Count VII, Defendants’ revocation of Harvard’s SEVP certification

deprived Harvard of protected property interests without due process.

       233.    The Constitution forecloses any lawful authority for Defendants’ actions, and this

Court should declare them unconstitutional and ultra vires.

                                   COUNT IX
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                            CONTRARY TO LAW
                     8 C.F.R. §§ 214.3(e)(4)(ii) & 214.4(a)(2)

       234.    Harvard incorporates by reference the allegations of the preceding paragraphs.

       235.    Defendants have taken final agency action by issuing the Revocation Notice and

summarily revoking Harvard’s SEVP certification. See 5 U.S.C. § 704.

       236.    The APA directs courts to hold unlawful and set aside agency action that is arbitrary

and capricious and not in accordance with law. Id. § 706(2)(A).




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       237.    8 C.F.R. § 214.4(a)(2) permits DHS to withdraw certification but only for a “valid

and substantive reason.” A “valid and substantive reason” must be understood in context to mean

a violation of the regulations governing SEVP-certified institutions, for two reasons.

       238.    First, to withdraw a school’s certification out of cycle, the government must issue

a NOIW. But it can only issue a NOIW under the narrow circumstances specified in

Section 214.3(e)(4)(ii) of the regulation: if the university “has failed to sustain eligibility” under

Section 214.3(a)(3)(i) (which requires that the school is “bona fide,” an “established institution of

learning or other recognized place of study,” possesses “the necessary facilities, personnel, and

finances to conduct instruction in recognized courses,” and “engage[s] in instruction in those

courses”), or if it “has failed to comply with the recordkeeping, retention, reporting and other

requirements of paragraphs (f), (g), (j), (k), and (l).” 8 C.F.R. § 214.3(a)(3)(i), (e)(4)(ii). If the

alleged violation is something other than ineligibility or the specified regulatory requirements, the

government cannot issue a NOIW, and therefore cannot withdraw a school’s certification.

       239.    Second, and confirming the point, all examples of “valid and substantive reason[s]”

for withdrawing a certification enumerated in 8 C.F.R. § 214.4(a)(2) are regulatory violations.

Under those examples, decertification must be tied either to failure to maintain eligibility or failure

to comply with regulations governing the program.

       240.    Indeed, the Evidence Attestation Statement attached to the Records Request

confirmed this understanding of the permissible reasons for decertification. That document stated

that “SEVP may review [a school’s] certification at any time and may request documentation to

establish [the school’s] eligibility for certification as well as review evidence and records for

compliance with the regulation.” Ex. 16 at 3 (emphasis added).




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       241.    Here, DHS’s revocation of Harvard’s certification was not based on a determination

that Harvard was no longer eligible for certification, and it was not based on a determination that

Harvard had failed to comply with the regulations. While the Revocation Notice asserts that

Harvard’s responses to the Records Request and the Mazzara Email were “insufficient,” Ex. 25 at

1, DHS has not identified any actual regulatory requirement with which Harvard has failed to

comply.

       242.    The Records Request exceeded the scope of 8 C.F.R. § 214.3(g)(1). That provision

specifies nine categories of information that a school “must keep on each [F-1] student” and

“furnish … to DHS representatives upon request.” 8 C.F.R. § 214.3(g)(1). Not among the listed

categories of information: conduct of F-1 students that constitutes “illegal,” “dangerous,” or

“violent” conduct; “deprivation of rights”; “threats”; or “obstruction of the school’s learning

environment,” Ex. 16 at 1-2, particularly where such conduct did not result in disciplinary action

that altered the student’s academic status.

       243.    To the extent Defendants have revoked Harvard’s SEVP certification for failure to

comply with a request made pursuant to Sections 214.3(g)(1) and 214.3(g)(2) for information not

required to be maintained or produced to DHS under those provisions, Defendants have failed to

base the revocation of Harvard’s certification on a “valid and substantive reason,” 8 C.F.R.

§ 214.4(a)(2), and the revocation must be set aside.

       244.    The improper revocation of Harvard’s certification causes immediate, ongoing, and

irreparable harm to Harvard.

                              COUNT X
       VIOLATION OF ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)
                      ARBITRARY AND CAPRICIOUS

       245.    Harvard incorporates by reference the allegations of the preceding paragraphs.




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       246.    Defendants have taken final agency action by revoking Harvard’s SEVP

certification. See 5 U.S.C. § 704.

       247.    The APA directs courts to hold unlawful and set aside final agency actions that are

arbitrary and capricious or an abuse of discretion. Id. § 706(2)(A).

       248.    Under the APA, an agency must “examine the relevant data and articulate a

satisfactory explanation for its action including a rational connection between the facts found and

the choice made,” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983) (quotation marks omitted), consider all “important aspect[s] of the problem”

when setting forth that explanation, DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020)

(quoting State Farm, 463 U.S. at 43), and, if the agency’s action represents a change in positions,

“be cognizant that longstanding policies may have engendered serious reliance interests” and

ensures that those reliance interests are “taken into account.” Id. (quotation marks omitted).

       249.    Defendants’ decision to revoke Harvard’s SEVP certification failed each of these

requirements. That action was therefore arbitrary and capricious and an abuse of discretion.

       250.    The Revocation Notice asserts that DHS is revoking Harvard’s certification

because of “Harvard’s failure to comply with simple reporting requirements.” Ex. 25 at 1. But

Defendants have not identified any actual “reporting requirements” with which Harvard has failed

to comply.

       251.    Defendants’ decision to revoke Harvard’s SEVP certification on those grounds was

arbitrary and capricious because it reflects an unacknowledged and unexplained change in the

agency’s policy. See Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir.

2017) (stating that agencies must both “acknowledge” and “offer a reasoned explanation for”

deviations from past agency practice). Upon information and belief, prior to the decertification




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decision in this case, no school had ever had its SEVP certification revoked for any reason other

than failure to meet the eligibility criteria for certification or failure to comply with the

recordkeeping, retention, reporting, and other requirements set out in the federal regulations

governing certification. In revoking Harvard’s certification, Defendants did not acknowledge,

much less provide a reasoned explanation for, that change in policy.

       252.    Defendants also have not articulated any rational explanation for revoking

Harvard’s certification. Harvard complied with the lawful requests within the Records Request

and the Mazzara Email. In response, Defendants summarily deemed Harvard’s document

production noncompliant without providing a cogent reason for that determination, and without

explaining why the noncompliance—if any—warranted revocation of Harvard’s certification.

Indeed, the revocation letter was wholly irrational. It states that Harvard failed to comply with

reporting requirements, without explaining what those reporting requirements were and why

Harvard did not comply with them. It states that Harvard failed to provide a sufficient response to

DHS’s records request, without articulating why the response was insufficient, why DHS’s records

request complied with DHS’s regulations, or why Harvard’s purportedly insufficient response was

a basis to revoke Harvard’s statements. And it makes generalized statements about campus

environment and “anti-Americanism,” again without articulating any rational link between those

statements and the decision to retaliate against international students. Accordingly, Defendants

failed to “examine the relevant data and articulate a satisfactory explanation for its action including

a rational connection between the facts found and the choice made.” State Farm, 463 U.S. at 43.

       253.    The decertification decision was arbitrary and capricious because it was not

supported by any evidence. The revocation letter stated that Harvard violated “reporting




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requirements” and that its response to DHS’s record requests were “insufficient.” It failed to

substantiate these statements.

        254.   The decertification decision was also arbitrary and capricious because it fails to

explain why wholesale decertification—rather than some lesser “remedial action” to cure any

noncompliance, 8 C.F.R. § 214.3(h)(3)(iii)—was the appropriate remedy here.

        255.   The decertification decision was also arbitrary and capricious because the penalty

imposed—wholesale decertification of a program that has been continuously certified for over

70 years—was entirely disproportionate to the alleged noncompliance identified: failure to supply

information that the regulations do not require Harvard to maintain or report as a condition of its

continued SEVP certification.

        256.   The decertification decision was also arbitrary and capricious because it ignores

Harvard’s and its students’ reliance interests and does not provide an explanation that accounts for

those reliance interests. Decertification directly impacts both Harvard and its many international

students. The decision thus lacks a rational connection between the facts found and the choice

made.

               a.      Harvard invests in recruitment, housing, support services, and specialized

programs designed specifically for its international student populations. The Harvard International

Office, with its 25 full-time staff members and annual budget of $3.44 million, is the hub of this

investment. It represents decades of accumulated expertise and systems for recruiting and enrolling

students through the F-1 visa program.

               b.      Harvard relies on its ability to enroll international students to enrich its

student population and to attract other students and faculty. Harvard’s dual mission of teaching




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and research relies on its global character and its ability to attract students wishing to participate

in an intellectual community populated by the brightest minds it can recruit to Massachusetts.

               c.      Harvard relies on its SEVP certification in admitting its incoming summer

students and its incoming fall class. Reconfiguring these admitted classes in both the

undergraduate and graduate schools is not practically possible given that the admissions cycle is

nearly concluded.

               d.      Students, likewise, rely on Harvard’s SEVP certification to legally enter and

remain in the United States. Students make significant financial and time commitments based on

a school’s certification. Students build academic and career plans around specific programs at

certified institutions. Interruptions in academic plans can derail degree completion. Students make

major life and professional decisions based on their educational plans, including to pursue a

program on the understanding that they will be able to access pre- and post-graduate pathways to

employment like the Optional Practical Training and Curricular Practical Training Visas. They

transplant themselves, and often their families, too, to come to Cambridge and Boston to study.

               e.      Students also make practical decisions in reliance on Harvard’s SEVP

certification. Students do not prepare for the costly travel and moving arrangements needed to

return home abruptly upon revocation of an F-1 visa, nor do they prepare for facing return to a

home country where they may face violent or dangerous circumstances.

       257.    Defendants’ arbitrary decertification decision causes immediate, ongoing, and

irreparable harm to Harvard.

                                    REQUEST FOR RELIEF

       WHEREFORE, Harvard respectfully requests the following relief:

       A.      Declare that Defendants’ actions to revoke Harvard’s SEVP certification through




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         the Revocation Notice are unconstitutional and/or unlawful because they violate

         the First Amendment, the Due Process Clause, and the APA;

B.       Preliminarily and permanently enjoin Defendants, their agents, and anyone acting

         in concert or participation with Defendants from implementing, instituting,

         maintaining, or giving effect to the unlawful revocation of Harvard’s SEVP

         certification;

C.       Preliminarily and permanently enjoin Defendants, their agents, and anyone acting

         in concert or participation with Defendants from giving any force or effect to the

         Department of Homeland Security’s May 22, 2025 Revocation Notice;

D.       Permanently enjoin Defendants, their agents, and anyone acting in concert or

         participation with Defendants from issuing a NOIW or otherwise initiating

         proceedings to withdraw Harvard’s SEVP certification in retaliation for Harvard’s

         exercise of its rights under the First Amendment, or because of the viewpoint of

         Harvard’s First Amendment protected speech, or because of Harvard’s refusal to

         comply with the April 11 Demand Letter.

E.       Award Harvard its reasonable fees, costs, and expenses, including attorneys’ fees,

         pursuant to 28 U.S.C. § 2412; and

F.       Grant other such relief as this Court may deem equitable, just, and proper.




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Dated: May 23, 2025                             Respectfully submitted,

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